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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF FLORIDA
                             MIAMI DIVISION
                           CASE No. 1:21-cv-20706



  MEUDY ALBÁN OSIO in her personal
  capacity and in her capacity as the
  personal representative of the Estate of
  FERNANDO ALBERTO ALBÁN,
  FERNANDO ALBÁN OSIO, and MARIA
  FERNANDA ALBÁN OSIO,

        Plaintiffs,                                         JURY TRIAL
                                                            DEMANDED
  vs.

  NICOLAS MADURO MOROS;
  FUERZAS ARMADA REVOLUCIONARIAS
  DE COLUMBA (“FARC”); THE CARTEL OF
  THE SUNS A.K.A. CARTEL DE LOS SOLES;
  VLADIMIR PADRINO LOPEZ; MAIKEL
  JOSE MORENO PEREZ; NESTOR LUIS
  REVEROL TORRES; and TAREK WILLIAM
  SAAB,

        Defendants,
  ________________________________________________/




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                                 COMPLAINT

        Plaintiffs, by and through counsel, bring this action seeking damages

  arising out of the kidnapping, torture, and murder of Fernando Alberto Albán

  (“Mr. Albán”), the subsequent cover-up of the murder, defamation of Mr. Albán,

  and further retaliatory actions against his surviving relatives, by Nicolás

  Maduro Moros (“Maduro”), the unlawful apparatus through which Maduro and

  his deputies control Venezuela (the “Maduro Regime”), and their narco-

  terrorist coconspirators.

                               INTRODUCTION

        1.    Mr. Albán was a devout Catholic and dedicated family man who

  was deeply committed to the cause of a free and democratic Venezuela. In 2018,

  Mr. Albán travelled from Venezuela to United States to speak out against the

  Maduro Regime and to visit his wife and children (who had earlier relocated to

  the United States to seek asylum). While Mr. Albán was in the United States,

  Maduro’s agents stalked him and marked him for retribution. As a result,

  when Mr. Albán returned to Venezuela, Maduro, through the vast criminal

  empire he leads, kidnapped Mr. Albán and, between October 5 and 8, 2018,

  brutally tortured and murdered him.

        2.    Mr. Albán’s murder prompted vehement outcry from the Catholic

  Church, the Organization of American States (“OAS”), the United Nations, the



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  White House, the U.S. State Department, and legislative leaders such as

  Senator Marco Rubio. Mr. Albán’s family, including his wife (“Ms. Albán Osio”)

  and their two children, as well as his extended family that still resides in

  Venezuela, were devastated, and continue to suffer terribly from the trauma

  of his loss.

        3.       Before his murder, Mr. Albán had dedicated much of his life to

  helping others. Among additional efforts, he worked with the Archdiocese of

  Caracas on numerous charitable projects. He served as the Secretary of Justice

  First, a progressive Venezuelan political party founded in 2000 in opposition

  to the Hugo Chavez government. In 2013, on the Justice First ticket, Mr.

  Albán was elected as a municipal councilman in Venezuelan regional elections.

         4.      The same year that Mr. Albán was elected, Hugo Chavez died and

  his protégé, Maduro, became President of Venezuela. Maduro immediately

  began to consolidate his authoritarian control of the country. To suppress

  dissent, Maduro utilized torture, extrajudicial killings, “disappearances” and

  other crimes against humanity on a grand scale, indiscriminately oppressing

  real and perceived political rivals alike. As the United Nations explains, “[a]s

  the opposition has been debilitated, the executive [branch with Maduro at the

  helm] has taken on increasingly expansive powers.” 1



  1See U.N. Human Rights Council [UNHRC], Detailed Findings of the Independent
  International Fact-finding Mission on the Bolivarian Republic of Venezuela, ¶ 133, U.N.

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        5.     At the same time, Maduro leveraged his power to enrich himself

  and his cronies at the expense of Venezuela’s law-abiding citizens. Maduro

  and his criminal enterprise looted Venezuela’s treasury, partnered with

  Fuerzas Armadas Revolucionarias de Colombia (“FARC”) to traffic in cocaine

  by the ton, and laundered the ill-gotten gains internationally, including the

  United States. Maduro and all but one of the Individual Defendants have been

  indicted for narco-terrorism, money laundering and/or other crimes in various

  U.S. jurisdictions including the Southern District of Florida.

        6.     Maduro’s gross mismanagement and avarice plunged Venezuela

  into an epic humanitarian crisis, with rampant disease, starvation and

  malnutrition. In response, Mr. Albán redoubled his efforts to advocate for

  democracy and against corruption, and in the best tradition of Catholic charity,

  to lend assistance to Venezuela’s most vulnerable and needy population.

        7.     In 2015, Mr. Albán and his family began to receive death threats.

  Fearing for their lives, Mr. Albán’s wife and children fled to the United States,

  where they applied for asylum. Mr. Albán made the difficult choice to stay

  behind in Venezuela to continue his efforts to rehabilitate his home country.

        8.     In August 2018, Mr. Albán traveled from Venezuela to New York

  to see his family, and then to connect with the Justice First delegation for



  Doc. A/HRC/45/CRP.11 (Sept. 15, 2020) (“UNHRC Detailed Findings Report”), available at
  https://reliefweb.int/sites/reliefweb.int/files/resources/A_HRC_45_CRP.11.pdf.

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  meetings and events in connection with the U.N. General Assembly meeting

  in September. In the company of senior members and luminaries of the Justice

  First party, Mr. Albán spoke in favor of democracy and against corruption in

  Venezuela.

        9.     Because of Mr. Albán’s high-profile companions, to say nothing of

  the U.N. event itself, Mr. Albán came the attention of senior members of the

  Maduro Regime. When Maduro Regime operatives took to the streets of New

  York, where—in violation of U.S. law—they brazenly tailed the Justice First

  delegation, openly surveilling and photographing them, they spotted Mr.

  Albán. On information and belief, they targeted Mr. Albán for retribution and

  transmitted the intelligence they gathered about him back to Venezuela—with

  deadly consequences.

        10.    On October 5, 2018, Mr. Albán left the United States and returned

  to Venezuela.    Immediately upon landing at Simón Bolivar International

  Airport, Mr. Albán was kidnapped by armed members of the Maduro Regime’s

  feared security services (“SEBIN”) and taken to SEBIN headquarters, where

  SEBIN is notorious for torturing detainees.      As the United Nations High

  Commissioner for Human Rights has explained, SEBIN “routinely resort[s]” to

  forms of torture including “electric shocks, suffocation with plastic bags, water




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  boarding, beatings, sexual violence, water and food deprivation, stress

  positions and exposure to extreme temperatures.” 2

         11.    Over that weekend, SEBIN tortured Mr. Albán with excruciatingly

  painful electronic shocks and, ultimately, murdered him. On Monday, October

  8, 2018, SEBIN threw Mr. Albán’s body from their building, where it plunged

  at least ten stories before hitting the ground, mutilating his corpse.

         12.    Not content to stop with the gruesome torture and murder of Mr.

  Albán, the Maduro Regime defamed Mr. Albán, falsely claiming that he had

  committed suicide (a particularly ugly lie, given his Catholic faith), and falsely

  claiming that he did so because he had been found with child pornography

  (another vile and gratuitous untruth).           And, as if that were not enough,

  Maduro’s agents raided, and ultimately destroyed, the Venezuelan accounting

  business that Mr. Albán and his wife had, until that time, successfully built

  and nurtured, and which was Ms. Albán Osio’s source of income after Mr.

  Albán’s murder.

         13.    When Maduro sent his thugs to New York to follow and intimidate

  pro-democracy advocates in the Justice First delegation and chose to kidnap

  and murder Mr. Albán the moment Mr. Albán left the safety of the United



  2See UNHRC, Annual report of the United Nations High Commissioner for Human Rights
  and Reports of the Office of the High Commissioner and the Secretary-General, Human
  Rights in the Bolivarian Republic of Venezuela, ¶ 43, U.N. Doc. A/HRC/41/18 (July 5, 2019),
  available at https://reliefweb.int/sites/reliefweb.int/files/resources/A_HRC_41_18.pdf.

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  States and landed at an international airport in Caracas, Maduro was sending

  a message—not just to Mr. Albán, not just to Venezuela’s citizens who might

  dare speak against the Maduro regime, but to the United States as well.

        14.   The United States is a globally recognized bastion of freedom and

  democracy. That is why Mr. Albán’s family sought refuge here when the

  Maduro regime threatened their lives. That is why Mr. Albán chose to come

  to the United States to speak out against Maduro’s corruption and

  authoritarianism. That is why, of all Mr. Albán’s actions, it was Mr. Albán’s

  exercise of his voice in the United States that caused Maduro to take note of

  Mr. Albán, that Maduro found deeply threatening, and that inspired Maduro

  to torture and assassinate Mr. Albán.

        15.   Maduro’s message—his affront to US sovereignty by sending

  agents onto U.S. soil to aid him in committing a murder, his murder of Mr.

  Albán to suppress Mr. Albán’s free speech in this country—should not be the

  last word. Maduro and his criminal enterprise must be held accountable for

  their crimes.

                                   PARTIES

        16.   Plaintiff Meudy Albán Osio is the surviving spouse of Mr. Albán.

  She sues in her personal capacity and as the executor and personal

  representative for the estate of Mr. Albán. She is a lawful permanent resident

  of the United States who resides in New York, where she was residing when

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   the Maduro Regime murdered her husband and destroyed her accounting

   business.

          17.    Plaintiff Maria Fernanda Albán Osio is the surviving daughter of

   Mr. Albán and Ms. Albán Osio. She is a lawful permanent resident of the

   United States who resides in New York, where she was residing when the

   Maduro Regime tortured and murdered her father.

          18.    Plaintiff Fernando Albán Osio is the surviving son of Mr. Albán

   and Ms. Albán Osio. He is lawfully residing in New York while the United

   States considers his petition for asylum, and was lawfully residing in New York

   when the Maduro regime tortured and murdered his father.

          19.    Defendant Maduro is the former President of Venezuela. On July

   31, 2017, the U.S. Department of Treasury, Office of Foreign Assets Control

   (“OFAC”) sanctioned Maduro for “undermining democracy in Venezuela.” 3 On

   March 26, 2020, the Department of Justice unsealed a criminal indictment

   against Maduro, pending in the United States District Court for the Southern

   District of New York, for orchestrating a “corrupt and violent narco-terrorism

   conspiracy between the between the Venezuelan Cartel de Los Soles (‘Cartel of




   3See Press Release, U.S. Dep’t of the Treasury, Treasury Sanctions the President of
   Venezuela, ¶ 1 (July 31, 2017), available at https://www.treasury.gov/press-center/press-
   releases/pages/sm0137.aspx.

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   the Suns’) and the Fuerzas Armadas Revolucionarias de Colombia (‘FARC’).” 4

   Maduro is a citizen and resident of Venezuela, where (although he has no

   recognized or lawful government position) he openly and notoriously controls

   the country, flouts U.S. authority, and remains a fugitive from justice. The

   U.S. Department of State, through its Narcotics Rewards Program, is offering

   rewards of up to $15 million for information leading to the arrest and/or

   conviction of Maduro. 5

         20.    Defendant Cartel of the Suns (or Cartel de los Soles) is a

   Venezuelan drug-trafficking cartel.         Maduro—along with several others—

   controls the Cartel of the Suns.         The DOJ has explained that “Maduro,”

   including through his leadership of the Cartel, “expressly intended to flood the

   United States with cocaine in order to undermine the health and wellbeing of

   our nation.” 6 The Cartel of the Suns is an unincorporated association based in

   Venezuela. Several senior members of the Cartel of the Suns are incarcerated

   in prison in the United States, including (Former) Major General Cliver Alcala



   4 See Superseding Indictment, ¶ 1 United States v. Maduro, 11-cr-205 (S.D.N.Y. 2011)
   (“Maduro Indictment”), available at
   https://www.justice.gov/opa/page/file/1261806/download.
   5 See DEA Reward Poster, available at

   https://www.justice.gov/opa/page/file/1262286/download.
   6 See Press Release, U.S. Dep’t of Justice (“DOJ”), Nicolás Maduro Moros and 14 Current

   and Former Venezuelan Officials Charged with Narco-Terrorism, Corruption, Drug
   Trafficking and Other Criminal Charges, ¶ 3 (March 26, 2020) (“DOJ Press Release”),
   available at https://www.justice.gov/opa/pr/nicol-s-maduro-moros-and-14-current-and-
   former-venezuelan-officials-charged-narco-terrorism.

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   Cordones, a Cartel de los Soles leader (charged with conspiracy to commit

   narco-terrorism, conspiracy to import cocaine and associated firearms

   charges); and Efraín Antonio Campo Flores and Francisco Flores de Freitas,

   both nephews of Maduro’s wife (charged with conspiracy to import 770 kilos of

   cocaine to the United States).

          21.    Defendant FARC is a terrorist organization that between 1999 and

   2021 became one of the largest producers of cocaine in the world and

   perpetrated acts of violence against United States nationals and property. The

   United States designated FARC as a Foreign Terrorist Organization (“FTO”)

   on October 8, 1997. 7 FARC is an unincorporated association based in Columbia

   with operations throughout South and Latin America. Certain senior FARC

   leaders, such as Juvenal Ovidio Ricardo Palmera Pineda, are imprisoned in

   the United States.

          22.    Defendant Vladimir Padrino Lopez is the de facto Minister of

   Defense of Venezuela. On September 25, 2018, OFAC imposed US sanctions

   on Padrino Lopez, explaining that Padrino Lopez is “a member of [Maduro’s]

   inner circle and lifelong member of the Venezuelan military,” who Maduro

   installed    “to   help     ensure     the    military’s    loyalty     to   the    Maduro




   7See U.S. Dep’t of State, Terrorist Designations and State Sponsors of Terrorism: Foreign
   Terrorist Organizations, available at https://www.state.gov/foreign-terrorist-organizations/.

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   regime.” 8 Padrino Lopez was indicted in the United States District Court for

   the District of Columbia. 9 The indictment alleges that from March 2014 until

   May 2019, Padrino Lopez conspired with others to distribute cocaine on board

   an aircraft registered in the United States. Padrino Lopez is a senior member

   of the Cartel of the Suns. Padrino Lopez is a citizen and resident of Venezuela,

   where he remains a fugitive from justice.

          23.    Maikel Jose Moreno Perez is the current Chief Justice of the

   Venezuelan Supreme Court, a position he has held since February 2017. In

   May 2017, OFAC sanctioned him for “judicial rulings . . . that have usurped

   the authority of Venezuela’s democratically-elected legislature.”              10   He has

   been criminally charged in the United States District Court for the Southern

   District of Miami. 11 He is charged with conspiracy to commit money laundering

   and money laundering in connection with the corrupt receipt of millions of

   dollars and bribes—largely originating from accounts in South Florida—to

   illegally alter the outcome of dozens of civil and criminal cases in Venezuela.



   8 See Press Release, U.S. Dep’t of the Treasury, Treasury Targets Venezuela President
   Maduro’s Inner Circle and Proceeds of Corruption in the United States (Sept. 25, 2018), ¶ 5,
   available at https://home.treasury.gov/news/press-releases/sm495.
   9 See Indictment, United States v. Vladimir Padrino Lopez, 1:19-cr-176 (D.D.C. 2019),

   available online at https://www.justice.gov/opa/page/file/1261721/download.
   10 See Press Release, U.S. Dep’t of the Treasury, Treasury Sanctions Eight Members of

   Venezuela’s Supreme Court of Justice (May 18, 2017), ¶ 1, available at
   https://www.treasury.gov/press-center/press-releases/Pages/sm0090.aspx.
   11 See Criminal Complaint, United States v. Moreno Perez, 20-cr-2407 (S.D. Fla. March 2,

   2020), available at https://www.justice.gov/opa/page/file/1261816/download.

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   The U.S. State Department has offered a reward of $5 million for information

   leading to his arrest and/or conviction. 12          He is a citizen and resident of

   Venezuela, and a fugitive from justice.

          24.    Defendant Nestor Luis Reverol Torres has held many government

   positions in Venezuela. He is currently the Minister of People’s Power for

   Electric Power. He is the former general director of Venezuela’s La Oficina

   Nacional Antidrogas (“ONA”), which is the Venezuela government agency

   charged with fighting narcotics production and trafficking (its mission is

   similar to that of the Drug Enforcement Agency in the United States). On July

   26, 2017, OFAC imposed sanctions on Torres for “undermining democracy” in

   Venezuela. 13 In 2016, the DOJ unsealed an indictment against Torres for

   offenses including trafficking and distributing cocaine. 14 Defendant Reverol

   Torres is a senior member of the Cartel of the Sun. He is a citizen and resident

   of Venezuela and a fugitive from justice.




   12 See Press Release, U.S. Dep’t of State, Transnational Organized Crime Rewards
   Program: Maikel Jose Moreno Perez (July 21, 2020) available at https://www.state.gov/inl-
   rewards-program/transnational-organized-crime-rewards-program/maikel-jose-moreno-
   perez/.
   13 See Press Release, U.S. Dep’t of Treasury, Treasury Sanctions 13 Current and Former

   Senior Officials of the Government of Venezuela, ¶ 1 (July 26, 2017) (“July 26, 2017 OFAC
   Press Release”) available at https://www.treasury.gov/press-center/press-
   releases/Pages/sm0132.aspx.
   14 See Indictment, United States v. Torres, 15-cr-20 (E.D.N.Y. Jan. 21, 2015), available at

   https://www.justice.gov/doj/page/file/1261891/download.

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            25.    Defendant Tarek William Saab is the Attorney General

   (sometimes called the Prosecutor General) of Venezuela. On July 26, 2017, he

   was sanctioned by OFAC for undermining democracy in Venezuela. 15 He has

   been sanctioned by other countries, such as Switzerland, for human rights

   violations. Tarek William Saab is a citizen and resident of Venezuela.

            26.    Defendants Vladimir Padrino Lopez, Maikel Jose Moreno Perez,

   Nestor Reverol Torres, and Tarek William Saab are collectively the “Individual

   Defendants.”

                               JURISDICTION AND VENUE

            27.    This Court has jurisdiction under 28 U.S.C. § 1331 because

   Plaintiffs’ RICO claims arise under the law of the United States. This court

   has supplemental jurisdiction over Plaintiffs’ state-law claims because those

   claims arise from the same nucleus of operative facts, and are part of the same

   case or controversy under Article III of the United States Constitution, as

   Plaintiffs’ RICO claims.

            28.    Venue properly lies in this forum pursuant to 18 U.S.C. § 1965(a),

   which provides that “[a]ny civil action or proceeding under this chapter against

   any person may be instituted in the district court of the United States for any

   district in which such person resides, is found, has an agents, or transacts his




   15   See July 26, 2017 OFAC Press Release, supra n. 13.

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   affairs,” because each of the defendants “transacts his affairs” in this

   jurisdiction, including but not limited to (a) flooding this jurisdiction with

   cocaine, (b) laundering ill-gotten proceeds of narcotics trafficking and

   Venezuela government corruption through this jurisdiction, and/or (c)

   accepting bribes from accounts maintained in this judicial district.

         29.   The Court has personal jurisdiction, under the Florida long-arm

   statute, Florida Stat. § 48.193, and the Due Process Clause of the Constitution,

   over the Defendants because they personally and/or through agents committed

   a tortious act within the State of Florida, giving rise to Plaintiffs’ claims,

   including that Defendants themselves and/or through agents:

         a.    defaming Mr. Albán in Florida by publishing defamatory

   statements about Mr. Albán on Twitter, YouTube and globally accessible other

   media, causing those defamatory statements being read, heard and reviewed

   by numerous third parties in Florida, including members of the large

   population of Venezuelan ex-patriots residing in South Florida;

         b.    criminally trafficking millions of dollars of illicit drugs into Florida

   for distribution in Florida, causing the kidnapping, torture and murder of Mr.

   Albán in retribution for, and to silence his opposition to, such criminal

   narcotics trafficking and narco-terrorism; and

         c.    laundering millions of dollars of ill-gotten proceeds of narcotics

   trafficking and public corruption offenses through South Florida, causing the

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   kidnapping, torture and murder of Mr. Albán in retribution for, and to silence

   his opposition to, such narcotics trafficking, public corruption offenses and

   money laundering.

         30.   Defendants’ torts against Mr. Albán were inextricably intertwined

   with, and a necessary and foreseeable component of, Defendants’ trafficking of

   illegal drugs into and throughout South Florida, and their laundering money

   throughout South Florida, for their profit and gain.

         31.   This court has personal jurisdiction over defendants served

   pursuant to the nationwide service provision of RICO, 18 U.S.C. § 1965(d),

   because, in light of defendants’ contacts with the United States as a whole,

   exercising jurisdiction over the defendants in the United States (including in

   this district) is consistent with the United States Constitution. Defendants

   themselves and/or through agents committed the following conduct in the

   United States, giving rise to Plaintiffs’ claims:

         a.    Aiding and abetting Mr. Albán’s murder by stalking Mr. Albán in

   the United States, flagging Mr. Albán for retribution in the United States,

   providing intelligence from the United States to members of the Maduro

   Regime in Venezuela, and engaging in a course of conduct hostile to Mr. Albán

   that began in the United States and culminated in Venezuela, but for which

   Mr. Albán would not have been kidnapped, tortured and murdered, and which



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   was a direct and proximate cause of Mr. Albán’s kidnapping, murder and

   torture;

         b.    criminally trafficking millions of dollars of illicit drugs into the

   United States for distribution in the United States, causing the kidnapping,

   torture and murder of Mr. Albán in retribution for, and to silence his opposition

   to, such criminal narcotics trafficking and narcoterrorism;

         c.    laundered millions of dollars of ill-gotten proceeds of narcotics

   trafficking and public corruption offenses through the United States, causing

   the kidnapping, torture and murder of Mr. Albán in retribution for, and to

   silence his opposition to, such public corruption offenses and money

   laundering; and

         d.    injuring Plaintiffs Ms. Albán Osio, Fernando Albán Osio, and

   Maria Fernanda Albán Osio in the United States (where they were residents)

   through the kidnapping, torture and murder of Mr. Albán and the destruction

   of Ms. Albán Osio’s accounting business and other property.

         32.   In the alternative, this court has personal jurisdiction over the

   defendants under Fed. R. Civ. P. 4(k)(2) because the defendants (a) are not

   subject to jurisdiction in any state’s courts of general jurisdiction and

   (b) exercising jurisdiction over the defendants in the United States, including

   in this district, is consistent with the United States Constitution. Defendants



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   themselves and/or through agents committed the following conduct in the

   United States, giving rise to Plaintiffs’ claims:

         a.    Aiding and abetting Mr. Albán’s murder by stalking Mr. Albán in

   the United States, flagging Mr. Albán for retribution in the United States,

   providing intelligence from the United States to members of the Maduro

   Regime in Venezuela, and engaging in a course of conduct hostile to Mr. Albán

   that began in the United States and culminated in Venezuela, but for which

   Mr. Albán would not have been kidnapped, tortured and murdered, and which

   was a direct and proximate cause of Mr. Albán’s kidnapping, murder and

   torture;

         b.    criminally trafficking millions of dollars of illicit drugs into the

   United States for distribution in the United States, causing the kidnapping,

   torture and murder of Mr. Albán in retribution for, and to silence his opposition

   to, such criminal narcotics trafficking and narcoterrorism;

         c.    laundered millions of dollars of ill-gotten proceeds of narcotics

   trafficking and public corruption offenses through the United States, causing

   the kidnapping, torture and murder of Mr. Albán in retribution for, and to

   silence his opposition to, such public corruption offenses and money

   laundering; and

         d.    injuring Plaintiffs Ms. Albán Osio, Fernando Albán Osio, and

   Maria Fernanda Albán Osio in the United States (where they were residents)

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   through the kidnapping, torture and murder of Mr. Albán and the destruction

   of Ms. Albán Osio’s accounting business and other property.

             33.   To the extent that this Court requires an additional basis to

   exercise jurisdiction over any of Plaintiffs’ claims against any particular

   Defendant, this court may exercise pendant personal jurisdiction to the

   maximum extent permitted by the Constitution over such claims because

   Plaintiffs’ claims all arise from the same common nucleus of operative fact.

                              FACTUAL ALLEGATIONS

        I.   U.S. AND INTERNATIONAL CONDEMNATION OF THE
             MADURO REGIME’S MURDER OF MR. ALBÁN

             34.   The United States and the world have condemned the Maduro

   Regime for its torture and murder of Mr. Albán.

             35.   White House spokeswoman Sarah Sanders said:             “The United

   States condemns the Maduro regime’s involvement in the death of Venezuelan

   opposition councilman Fernando Alban. Venezuelan authorities took Alban

   into custody on October 5, upon his return from the United Nations General

   Assembly, where he spoke to the world about the importance of returning

   democracy to the people of Venezuela. He died three days later while in the

   custody of Venezuela’s intelligence service.” 16


   16See Dierdre Shesgreen, White House Blames Venezuelan President Maduro’s Regime for
   Opposition Leader’s Death, USA Today (Oct. 10, 2018, 11:21 AM) available at
   https://www.usatoday.com/story/news/world/2018/10/10/white-house-blasts-venezuelan-
   regime-opposition-leaders-death/1588844002/.

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         36.    The U.S. State Department, through deputy spokesperson Robert

   Palladino, echoed the White House’s sentiments, stating that Mr. Albán’s

   murder “highlights a continuing pattern of human rights abuses in that

   country, repression, and excessive use of force.” 17

         37.    Venezuela’s Catholic bishops’ conference and Luis Almagro, the

   head of the OAS, said Albán’s death was “the direct responsibility of a torturing

   and homicidal regime” of Maduro in Venezuela. 18

         38.    Representatives Carlos Curbelo (FL-26), Ileana Ros-Lehtinen

   (FL-27), Mario Diaz-Balart (FL-25), and Albio Sires (NJ-08) engaged in a

   bipartisan effort to urge President Trump to demand a thorough independent

   investigation into Mr. Albán’s death and asked for sanctions against those

   found to be responsible. 19

         39.    Senator Marco Rubio (FL), who supported the House Members’

   effort, stated “Albán’s death must be thoroughly investigated in order to

   understand the regime’s involvement in this heinous crime. As the Venezuelan

   people continue to be oppressed and starved, the United States and its allies


   17 See US Condemns Venezuela for Alleged Involvement in Death of Opposition Activist,
   VOA News (Oct. 10, 2018, 1:06 PM) available at https://www.voanews.com/usa/us-
   condemns-venezuela-alleged-involvement-death-opposition-activist.
   18 Scott Smith and Fabiola Sanchez, Opposition Venezuelan Politician Dies in Jail, Kold

   News 13 (Oct. 18, 2018, 6:46 PM), available at https://www.kold.com/2018/10/09/opposition-
   venezuelan-politician-dies-jail/.
   19 See Press Release, Reps. Curbelo, Ros-Lehtinen, Diaz-Balart, Rubio Urge President to

   Sanction Anyone Found Responsible for Death of Venezuelan Opposition Leader (October
   17, 2018).

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   must unite in holding Maduro and his cronies accountable for their crimes

   against humanity and other human rights abuses.” 20

   II.   BACKGROUND

            A. The Maduro Regime

         40.    Maduro assumed the Presidency of Venezuela on March 5, 2013,

   upon the death of then Venezuelan President Hugo Chavez.

         41.    On    May      20,    2018,        Venezuela   held   a   presidential

   election. Although Maduro nominally “won” the presidential election, the

   election was neither free nor fair. As U.S. Secretary of State Michael Pompeo

   explained, “[s]ham elections change nothing. We need Venezuelan people

   running this country.” 21

         42.    Accordingly, on June 27, 2018, the Organization of American

   States (“OAS”) recognized the presidency of the Venezuela opposition leader,

   Juan Guaidó (“Guaidó”).

         43.    Notwithstanding the fact that the May 20, 2018 election was

   illegitimate, on January 10, 2019, Maduro was inaugurated as Venezuela’s

   president—a result Maduro achieved by the forceful and unlawful suppression

   of the legitimate government led by Guaidó.




   20Id.
   21Michael Pompeo (@SecPompeo) (May 20, 2018),
   https://twitter.com/SecPompeo/status/998254964408545283.

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          44.    On January 15, 2019, Venezuela’s freely elected National

   Assembly declared Maduro a “usurper.” On January 23, 2019, Guaidó declared

   himself President.

          45.    Also on January 23, 2019, the United States recognized Mr.

   Guaidó as Venezuela’s legitimate President. The U.S. State Department

   implored “Maduro to step aside in favor of a legitimate leader reflecting the

   will of the Venezuelan people.” 22 The White House stated that the United

   States will “continue to hold the illegitimate Maduro regime directly

   responsible for any threats it may pose to the safety of the Venezuelan

   people.” 23

          46.    Over 50 other recognized and respected countries—including

   leading western democracies, and excluding holdouts such as North Korea,

   Iran, Syria and Cuba—have likewise recognized Guaidó as the legitimate

   President of Venezuela.

          47.    The State Department’s 2019 Country Reports on Human Rights

   Practices: Venezuela, sums up the political situation, explaining that

   “Venezuela is legally a multiparty, constitutional republic, but for more than a


   22 See Reuters, Pompeo Calls on Venezuela's Maduro to Step Down, Urges Support from
   Military (Jan. 23, 2020), available at https://www.reuters.com/article/us-venezuela-politics-
   pompeo/pompeo-calls-on-venezuelas-maduro-to-step-down-urges-support-from-military-
   idUSKCN1PH2HI.
   23 See Jeremy Diamond and Boris Sanchez, Trump recognizes Venezuelan opposition leader

   as nation’s president, CNN, Jan. 24, 2019, available online at
   https://www.cnn.com/2019/01/23/politics/trump-juan-guaido-venezuela/index.html.

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   decade, political power has been concentrated in a single party with an

   authoritarian executive exercising significant control over the judicial, citizens’

   power (which includes the prosecutor general and ombudsman), and electoral

   branches of government, and standing up a parallel, illegitimate legislative

   body [the Constituent        Assembly] alongside the existing elected one [the

   National Assembly].” 24

         48.    In short, although Maduro continues to exert authoritarian control

   over Venezuela, he is no longer the head of state, and he has not been the head

   of state, or a member of the recognized government of Venezuela, since May

   20, 2018.

         49.    The Maduro Regime includes myriad individuals, including many

   in governmental positions, who are beholden to Maduro and who execute

   unlawful instructions from Maduro and his deputies.

         50.    A Washington Post article captures the essence of the Maduro

   Regime: “the reality is that the [Venezuelan] regime is less a government —

   much less a socialist one — than a criminal gang,” in which “the money it is

   reaping from criminal activity is serving as a prop that allows it to survive

   U.S. sanctions.” 25


   24 See U.S. Dep’t of State, Venezuela, 2019 Country Reports on Human Rights Practices, at
   1 (“Venezuela Country Report”), available at https://www.state.gov/wp-
   content/uploads/2020/03/VENEZUELA-2019-HUMAN-RIGHTS-REPORT.pdf.
   25 See Jackson Diehl, The Real Reason Venezuela’s Maduro Survives: Dirty Money,

   Washington Post (May 12, 2019, 7:15 PM) available at

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             B. The Cartel of the Suns

         51.    Member of the Venezuelan military became involved in the drug

   trade in 1990s, largely in the form of accepting bribes to ignore drug traffickers.

   Around 1992, Hugo Chavez formed a Venezuela drug cartel, which at the time

   was known as the “Cartel Bolivariano” or “Bolivarian Cartel.” In 1993, the

   name changed to the “Cartel of the Suns,” a reference to the sun insignia on

   the Venezuelan military uniforms of many of the cartel’s leaders.

         52.    The Venezuelan government under Hugo Chavez grew the cartel,

   affording Venezuelan officials engaged in drug trafficking immunity in

   exchange for their loyalty to Chavez. In 2005, the Chavez government expelled

   the U.S. Drug Enforcement Agency (U.S. DEA) from Venezuela, making

   Venezuela a more attractive route for drug trafficking. As discussed further

   below, the Cartel of the Suns began coordinating with FARC to traffic cocaine.

   Venezuelan air force bases began to shelter planes loaded with cocaine that

   arrived from Columbia.

         53.    When Chavez died in 2013, Maduro stepped up to become one of

   the leaders of the Cartel. Defendants Nestor Reverol Torres and Padrino Lopez




   https://www.washingtonpost.com/opinions/global-opinions/the-real-reason-venezuelas-
   maduro-survives-dirty-money/2019/05/12/ba96413e-7263-11e9-8be0-
   ca575670e91c_story.html.

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   are senior figures within the Cartel. Defendants Tarek William Saab and

   Defendant Maikel Jose Moreno Perez also support the Cartel’s activities.

               C. The FARC

         54.     The FARC is an armed and violent organization based primarily

   in the Republic of Colombia. Since its inception in 1964, FARC has engaged in

   armed conflict against the government of the Republic of Colombia, which is a

   constitutional, multi-party democracy. Although many FARC rebels laid down

   arms as part of a 2016 peace agreement, a significant number—notably, those

   that are in league with Maduro and the Maduro Regime—continue to fight to

   derail the peace process and to destabilize all levels of the Colombian

   government by means of violence, including murders and hostage takings,

   threats of violence, and other terrorism-related activities. The FARC’s

   activities throughout Colombia have caused hundreds of civilian deaths and

   injuries.

         55.     The FARC has been, and remains, strongly anti-American. It

   characterizes American citizens as “military targets,” and it has engaged in

   violent acts against U.S. nationals in Colombia, including murders and hostage

   takings.

         56.     FARC supports itself largely through the trafficking of cocaine.

   FARC rebels on Columbia’s borders, particularly the Venezuelan border, are

   responsible for transporting cocaine outside of Colombia, and facilitating the

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   exchange of cocaine and cocaine paste for weapons and supplies that are used

   by the FARC to support their international terrorism activities.

         57.     FARC leadership frequently noted during meetings that the FARC

   could not survive without the proceeds generated from cocaine and cocaine

   paste manufacturing and distribution. Recognizing that the United States has

   contributed significantly to Colombian fumigation efforts, the FARC

   leadership ordered FARC members to kidnap and murder U.S. nationals to

   intimidate the United States and coerce it from efforts to fumigate and disrupt

   the FARC’s cocaine and cocaine paste manufacturing and distribution

   activities.

         58.     On October 8, 1997 the Secretary of State of the United States,

   designated the FARC designated foreign terrorist organization (“FTO”),

   pursuant to Title 8, United States Code, Section 1189. The FARC was re-

   designated on September 5, 2001. At all times material to this action, the

   FARC is a designated FTO. Specifically, 8 U.S.C. § 1189(a)(1) authorizes the

   Secretary of State to designate an organization as a foreign terrorist

   organization . . . if the Secretary finds that (A) the organization is a foreign

   organization; (B) the organization engages in terrorist activity . . . ; and (C) the

   terrorist activity or terrorism of the organization threatens the security of

   United States nationals or the national security of the United States. 8 U.S.C.

   § 1189(a)(1).

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            D. The Maduro Criminal Enterprise and the Maduro
               Criminal Conspiracy

         59.   The Maduro Criminal Enterprise is an association that includes,

   among others, Maduro, the Maduro Regime, the Cartel of the Suns, FARC, and

   the Individual Defendants.

         60.   Members of the Maduro Criminal Enterprise have conspired and

   agreed to commit a wide variety of interrelated crimes (the “Maduro Criminal

   Conspiracy”), including (a) narcotics trafficking; (b) acts of terrorism including

   but by no means limited to narco-terrorism; (c) human rights violations

   including kidnapping, torture, and murder; (d) public corruption offenses; and

   (e) money laundering.

         61.   Each of Maduro Criminal Enterprise’s criminal endeavors is

   intrinsic to, and necessary to the functionality of, the overall criminal

   enterprise. Put differently, each line of criminal wrongdoing supports and

   reinforces the ability of the Maduro Criminal Enterprise to commit each of the

   other criminal wrongdoing in which the Maduro Criminal Enterprise engages.

               a.    For example, a central objective of the Maduro Criminal

   Enterprise and the Maduro Criminal Conspiracy is to assist Maduro to retain

   authoritarian control over Venezuela. By ensuring that Maduro unlawfully

   controls the Venezuelan state, the Maduro Criminal Enterprise ensures that

   it can continue to commit profitable crimes—such as narcotics trafficking and


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   looting the Venezuela treasury—with impunity and without interference from

   legitimate law enforcement.

               b.    Conversely, the Maduro Criminal Enterprise, through its

   earnings from profitable crimes such as narcotics trafficking and public

   corruption, obtains wealth through which Maduro purchases the loyalty of

   Maduro Criminal Enterprise’s leaders and loyalists, thereby cementing

   Maduro’s authoritarian control over Venezuela. In other words, dirty money

   is the lifeblood of the Maduro Criminal Enterprise and the Maduro Criminal

   Conspiracy. As the Washington Post explains, “each year [the Cartel of the

   Suns, the drug cartel that lies at the heart of the Maduro Criminal Enterprise]

   flies hundreds of tons of Colombian cocaine from Venezuelan airfields to

   Central America and the Caribbean for eventual distribution in the United

   States and Europe — and that [cartel] includes some of the most senior officials

   in the Maduro regime. These men are not clinging to power because they are

   true believers in socialism . . . . They hang on because, in spite of Venezuela’s

   economic implosion, they are still reaping millions.” 26

               c.    And, through acts of terrorism and human rights abuses, the

   Maduro Criminal Enterprise suppresses opposition to its narcotics trafficking,

   public corruption, and Maduro’s authoritarian control of Venezuela.



   26   Id.

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         62.   Because the foregoing crimes are interrelated, because each type

   of criminality furthers the other types of criminality, and because the Maduro

   Criminal Enterprise conspicuously engages in each type of criminality, each

   and every co-conspirator in the Maduro Criminal Conspiracy has knowingly

   and intentionally agreed to all types of criminality in which the Maduro

   Criminal Enterprise engages.

         63.   The key lines of criminal conduct in which the Maduro Criminal

   Enterprise engages are discussed in more detail below.

                  1. The Maduro Criminal Enterprise’s Narcotics
                     Trafficking and Narco-Terrorism

         64.   For at least 20 years, and continuing through today, Maduro, along

   with a cadre of his Venezuelan loyalists and the FARC, has run a vast narco-

   terrorism conspiracy, and through it, has intentionally inundated the United

   States with cocaine, not only to enrich Maduro himself along with the other

   members of the Maduro Criminal Enterprise, but also to harm the United

   States and its citizens.

         65.   On March 26, 2020, the DOJ unsealed indictments charging

   myriad crimes against Maduro, other Venezuelan leaders, and their FARC co-

   conspirators, for narcotics trafficking and narcoterrorism. Summing up the

   charges, U.S. Attorney General William P. Barr explained that “[t]he

   Venezuelan regime, once led by Nicolás Maduro Moros, remains plagued by


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   criminality and corruption. . . . For more than 20 years, Maduro and a number

   of high-ranking colleagues . . . conspired with the FARC, causing tons of

   cocaine to enter and devastate American communities.” 27

            66.    The United States Attorney for the Southern District of New York,

   Geoffrey S. Berman, further explained how Maduro and his cronies leveraged

   their authoritarian power in Venezuela to support their narcoterrorism and

   narcotics trafficking conspiracy:

            Today we announce criminal charges against Nicolás Maduro
            Moros for running, together with his top lieutenants, a narco-
            terrorism partnership with the FARC for the past 20 years. . . The
            scope and magnitude of the drug trafficking alleged was
            made possible only because Maduro and others corrupted
            the institutions of Venezuela and provided political and
            military protection for the rampant narco-terrorism crimes
            described in our charges. As alleged, Maduro and the other
            defendants expressly intended to flood the United States with
            cocaine in order to undermine the health and wellbeing of our
            nation. Maduro very deliberately deployed cocaine as a weapon.
            While Maduro and other cartel members held lofty titles in
            Venezuela’s political and military leadership, the conduct
            described in the Indictment wasn’t statecraft or service to the
            Venezuelan people. As alleged, the defendants betrayed the
            Venezuelan people and corrupted Venezuelan institutions to line
            their pockets with drug money. 28

            67.    Attorney General Barr further explained the role of FARC in the

   conspiracy: “there is a dissident group of about 2,500 FARC members, and

   they have taken up on the border between Venezuela and Colombia. These


   27   See DOJ Press Release, supra n. 6, ¶ 1.
   28   Id. ¶ 3.

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   FARC dissidents continue to be involved in drug trafficking and armed

   insurgency. They have obtained the support of the Maduro regime, which is

   allowing them to use Venezuela as a safe haven from which they can continue

   to conduct their cocaine trafficking and their armed insurgency.” 29

          68.    Attorney General Barr further explained: “There is an area right

   on the border in Colombia, Norte de Santander, which is one of the primary

   cocaine producing areas remaining in Colombia. FARC gets this cocaine over

   into Venezuela and then is given safe haven by the regime to fly this cocaine

   from an area called Zulia, near Lake Maracaibo, up into Central America.

   Since 2016, this air bridge has been established and has grown fivefold in just

   those four years. In addition, the regime is allowing these drug traffickers to

   take drugs by a maritime route into the Caribbean.                   We estimate that

   somewhere between 200 and 250 metric tons of cocaine are shipped out of

   Venezuela by these routes per year.” 30




   29 See Press Release, Dep’t of Justice, Attorney General William P. Barr Delivers Remarks
   at Press Conference Announcing Criminal Charges against Venezuelan Officials (March 26,
   2020) (“AG Barr Remarks”) available at https://www.justice.gov/opa/speech/attorney-
   general-william-p-barr-delivers-remarks-press-conference-announcing-criminal; see also
   Douglas Farah and Caitlyn Yates, MADURO’S LAST STAND Venezuela’s Survival
   Through the Bolivarian Joint Criminal Enterprise with the FARC, IBI Consultants LLC
   ((May 2019) (“The alliance of the [Maduro Regime] together w/ the FARC have coalesced
   into . . . a consortium of criminalized states and non-state actors working in concert with
   shared objectives”), available at https://www.ibiconsultants.net/_pdf/maduros-last-stand-
   final-publication-version.pdf.
   30 See AG Barr Remarks, supra n. 29.



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            69.    As set forth in the Maduro indictment, a member of the FARC high

   command “agreed to provide a multi-ton quantity of cocaine to DEA

   confidential sources so that the drugs could be imported into the United States.

   The sources purported to work for Rafael Caro Quintero, a Mexican drug

   trafficker who participated in the 1985 torture and murder of DEA Agent

   Enrique ‘Kiki’ Camarena. During a recorded meeting, [the FARC leader]

   referred to the murder of Camarena by characterizing Caro Quintero as the

   person who had killed the ‘son of the bitch of the DEA.’” 31

            70.    U.S. Attorney Berman explained the role of the Cartel of the Suns

   in the conspiracy. He stated that Maduro and the Individual Defendants

   “called their cartel the ‘Cartel of the Suns.’ The name they chose reflects the

   Cartel’s identity and operations. It is a direct reference to the sun-shaped stars

   that Venezuelan military officers wear on their uniforms. Indeed, three former

   military officers of the highest rank are charged in this indictment. At the

   direction of Maduro, and in pursuit of their own personal profits, these officers:

   negotiated drug sales; protected the FARC’s transportation of coca leaves from

   Colombia; provided safe haven in Venezuela for cocaine manufacturing

   facilities; and supplied authorization codes and cover for the planes and boats




   31   Maduro Indictment, supra n. 4, at ¶ 15(p).

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   that transported the shipments as they began their journey to the United

   States.” 32

         71.     Assistant Attorney General Brian A. Benczkowski explained the

   role of Defendant Padrino Lopez in the narcotrafficking conspiracy: “[The

   Venezuelan] military—led by Padrino Lopez—was responsible for interdicting

   suspected drug traffickers flying through Venezuelan air space.                 But as

   Minister of Defense, Padrino Lopez instead wielded his power to allow drug

   traffickers to use Venezuela as a transshipment route for narcotics destined

   for the United States. Padrino Lopez allegedly accepted bribes from drug

   trafficking organizations to allow them free passage to fly through Venezuelan

   air space. So long as he was paid off, cocaine-filled aircraft could get by and

   avoid interdiction. Far from stopping drug traffickers, the military – for the

   right price – gave safe passage to drug traffickers, terrorists, and other

   criminals.” 33

         72.     The United States Attorney’s Office for the Eastern District of New

   York has charged Defendant Torres (the former general director of Venezuela’s

   DEA), for his role in the Maduro Criminal Enterprise’s narcotics trafficking.


   32 See Press Release, Dep’t of Justice, U.S. Attorney Geoffrey S. Berman Announces
   Charges in U.S. v. Maduro et al. New York, N.Y. (March 26, 2020) available at
   https://www.justice.gov/opa/page/file/1262756/download.
   33 See Press Release, Dep’t of Justice, Assistant Attorney General Brian A. Benczkowski

   Delivers Remarks at Press Conference Announcing Criminal Charges Against Venezuelan
   Officials (March 26, 2020) available at https://www.justice.gov/opa/speech/assistant-
   attorney-general-brian-benczkowski-delivers-remarks-press-conference-announcing.

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   According to the indictment, Torres “receive[d] payments from narcotics

   traffickers in exchange for assisting the narcotics traffickers in conducting

   their illicit drug trafficking business.”

         73.    In exchange for payments from narcotics traffickers, Torres,

   among other things, (a) alerted narcotics traffickers to future drug raids or

   locations of law enforcement counter-narcotics activities so that the narcotics

   traffickers could change the storage locations of narcotics or alter

   transportation routes or times and thus avoid detection by law enforcement;

   (b) stopped or hindered ongoing narcotics investigations or counter-narcotics

   actions so that vehicles loaded with narcotics could depart from Venezuela; (c)

   arranged for the release of individuals detained for narcotics violations or for

   suspicion of narcotics trafficking activities; (d) arranged for the release of

   seized narcotics or narcotics-related currency; and (e) prevented the arrest or

   deportation of individuals sought for prosecution in foreign countries,

   including the United States.

         74.    In 2017, two of Maduro’s wife’s cousins, Efrain Antonio Campo

   Flores and Franqui Francisco Flores, were convicted of conspiracy to smuggle

   cocaine into the United States and sentences to 18 years in prison. The Acting

   Manhattan U.S. Attorney explained that the crime was motivated, in part, by

   a desire to enhance Maduro’s political power at home: “In part to fund an

   election campaign for the First Lady of Venezuela, Efrain Antonio Campo

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   Flores and Franqui Francisco Flores de Freitas devised a plan to work with the

   FARC terrorist organization to send literally tons of cocaine to the United

   States.” 34

                    2. The Maduro Criminal Enterprise’s Acts of, and
                       Material Support for, Terrorism.

          75.    A defining feature of the Maduro Criminal Enterprise is the

   symbiotic relationship among its principal members: on one hand, Maduro, the

   apparatus of the Venezuelan state that he controls, and the Cartel of the Suns,

   and on the other hand, the FARC.

          76.    As described above, FARC, Maduro and the Cartel of the Suns

   have worked hand in glove to perpetrate a massive, ongoing, highly profitable

   narcoterrorism conspiracy aimed at the United States. But the collaboration

   goes much farther and deeper.

          77.    Venezuela also provides a safe haven for FARC. 35 As a result, the

   FARC has taken over state functions in parts of Venezuela and has a vested

   interest in supporting the Maduro regime. Expansion into Venezuela has




   34 Press Release, U.S. Dep’t of Justice, Nephews Of Venezuela First Lady Each Sentenced
   To 18 Years In Prison For Conspiring To Import Cocaine Into The United States (Dec. 14,
   2017), available at https://www.justice.gov/usao-sdny/pr/nephews-venezuela-first-lady-each-
   sentenced-18-years-prison-conspiring-import-cocaine.
   35 Reuters Staff, Amid Columbia Rebel Rearmament, U.S. Sees Support from Maduro (Aug.

   31, 2019), available at https://www.reuters.com/article/us-venezuela-politics-usa/amid-
   colombia-rebel-rearmament-u-s-sees-support-from-maduro-official-idUSKCN1VL0FZ.

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   enabled the FARC to carry out attacks in Colombia and withstand blows from

   Colombian security forces. 36

         78.    In addition, Maduro provides high-end military grade weapons

   and munitions to FARC, such as shoulder-launched anti-tank weapons. 37

   Years ago, Maduro attended a meeting with a FARC representative at which

   the attendees agreed that the Cartel of the Suns would provide the FARC cash

   and weapons in exchange for increased cocaine production. 38

         79.    Conversely, at Maduro’s request, FARC supplied training to

   unsanctioned militia groups (known as Colectivos or “Collectives”) that

   function as an armed-forces unit for the Cartel of the Suns. 39 The Colectivos

   engage in kidnapping, extortion, drug trafficking and murder.                 They are

   associated with extrajudicial killings and terrorizing dissidents.

         80.    Venezuela’s democratically elected National Assembly has

   designated the Colectivos as terrorist groups due to their “violence,

   paramilitary actions, intimidation, murders and other crimes,” declaring their

   acts to be nothing short of state-sponsored terrorism. The Colectivos have




   36 Ross Dayton, Maduro’s Revolutionary Guards: The Rise of Paramilitarism in Venezuela,
   12 CTC Sentinel 7, (Aug. 2019) available at https://www.ctc.usma.edu/maduros-
   revolutionary-guards-rise-paramilitarism-venezuela/.
   37See CNN, Columbia: FARC Arms Traced to Venezuela, July 27, 2009, available at

   http://www.cnn.com/2009/WORLD/americas/07/27/colombia.venezuela.arms/.
   38 Maduro Indictment, supra n. 4, ¶ 15f.

   39 See DOJ Press Release, supra n. 6, at ¶ 13.



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   attacked anti-government protesters and Venezuelan opposition television

   staff,     sent death     threats to     journalists,     and      once even      tear-

   gassed the Vatican envoy.

            81.   FARC’s ongoing acts of international terrorism are not limited to

   collaborating with South American terrorists.             US Attorney Geoffrey S.

   Berman—unsealing the indictment of Adel El Zabayar, a member of the

   Maduro Criminal Enterprise—explained that: “As alleged, Adel El Zabayar

   was part of the unholy alliance of government, military, and FARC members

   using violence and corruption to further their narco-terrorist aims. El Zabayar

   was allegedly a key part of the apparatus that conspired to export literally tons

   of cocaine into the U.S. We further allege today, for the first time, that

   the Cártel de Los Soles sought to recruit terrorists from Hizballah and Hamas

   to assist in planning and carrying out attacks on the U.S., and that El Zabayar

   was instrumental as a go-between. Allegedly, El Zabayar obtained from the

   Middle East a cargo planeload of military-grade weaponry.” 40




   40See Press Release, U.S. Dep’t of Justice, Former Member Of Venezuelan National
   Assembly Charged With Narco-Terrorism, Drug Trafficking, And Weapons Offenses (May
   27, 2020), available at https://www.justice.gov/usao-sdny/pr/former-member-venezuelan-
   national-assembly-charged-narco-terrorism-drug-trafficking-and.

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                       3. The Maduro Regime’s Human Rights Abuses

                            i.   Overview

            82.    The Maduro Regime engages in violent and unlawful human rights

   violations to suppress political opposition, maintain its authoritarian grip on

   Venezuela, and facilitate the Maduro Criminal Enterprise’s lucrative narcotics

   trafficking and public corruption income.

            83.    The State Department’s 2019 Country Reports on Human Rights

   Practices: Venezuela, explains:

            Significant human rights issues included: unlawful or arbitrary
            killings, including extrajudicial killings by security forces
            of the former Maduro regime, including colectivos (regime-
            sponsored armed groups); forced disappearances; torture by
            security forces; arbitrary detention by security forces; harsh
            and life-threatening prison conditions; political prisoners;
            unlawful interference with privacy; and lack of judicial
            independence. . . . The former Maduro regime used violence to
            repress peaceful demonstrations and repressed freedom of
            assembly. Other issues included: intimidation, harassment,
            and abuse of AN members, including denial of due process and
            parliamentary immunity; pervasive corruption and impunity
            among all Maduro-aligned security forces and in other
            national and state regime offices, including at the highest levels;
            trafficking in persons; violence against indigenous persons; and
            the worst forms of child labor, which the former regime made
            minimal efforts to eliminate. 41

            84.    Expanding on the description of Maduro’s use of torture described

   above, the State Department Report further explains that “[r]egime-aligned



   41   See Venezuela Country Report at 2, supra n. 24.

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   authorities reportedly subjected detainees to asphyxiation, electric shock,

   broken bones, being hung by their limbs, and being forced to spend hours on

   their knees. Detainees reported regime-aligned security forces moved them

   from detention centers to houses and other clandestine locations where abuse

   took place. Cruel treatment frequently involved former regime authorities

   denying prisoners medical care and holding them for long periods in solitary

   confinement. The latter practice was most prevalent with political prisoners.

   NGOs detailed reports from detainees whom regime-aligned authorities

   allegedly sexually abused.” 42

         85.    In September of 2019, the United Nations Human Right Council

   (“UNHRC”) established an independent fact finding mission (the “U.N. Fact

   Finding Mission” or “Mission”) to Venezuela “to investigate extrajudicial

   executions, enforced disappearances, arbitrary detentions and torture and

   other cruel, inhumane or degrading treatment since 2014 with a view to

   ensuring full accountability for perpetrators and justice for victims.” 43   The

   Mission carried out 274 interviews with victims, witnesses, family members,

   former State officials, lawyers, representatives of non-Governmental

   organizations, and international personnel. 44 The Mission produced a report,



   42 Id. at 5-6.
   43 See UNHRC Detailed Findings Report, supra n.1, at ¶ 1.
   44 Id. ¶ 9.



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   dated September 15, 2020, titled “Detailed findings of the independent

   international fact-finding mission on the Bolivarian Republic of Venezuela”

   (the “UNHRC Detailed Findings Report”).

         86.   Like the U.S. State Department Report, the UNHRC Detailed

   Findings Report documented “acts of torture and other ill-treatment” including

   the use of: (1) “[s]tress positions called the “crucifixion” (arms spread out and

   handcuffed to pipes or grilles) and ‘the octopus’/‘el pulpo’ (a metal belt with

   chains attached to immobilize the wrist and ankles); (2) “[a]sphyxiation with

   plastic bags, chemical substances or a bucket of water”; (3) “[b]eatings,

   sometimes with a stick or other blunt object”; (4) “[e]lectric shocks to the

   genitals or other parts of the body”; (5) “[d]eath threats or threats of additional

   violence”; (6) “[t]hreats of rape against the victim and/or their relatives; (7)

   “[p]sychological torture including sensorial deprivation, constant lighting and

   extreme cold”; and(8) “[f]orced nudity including in rooms kept at extremely low

   temperatures.”

         87.   The Bolivarian     National      Intelligence   Service   (the   Servicio

   Bolivariano de Inteligencia Nacional or “SEBIN”)—which has been described

   as the political police force of Venezuela—is particularly notorious for

   harassment, arrest, torture and murder of political prisoners in Venezuela.

   Former SEBIN Director Christopher Figuera told the United Nations that,

   upon taking up his position at the end of October 2018 (the same month during

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   which SEBIN earlier tortured and murdered Mr. Albán), that he discovered

   what he described as “a culture of torture” within SEBIN, which pre-dated his

   appointment. 45

             88.    SEBIN routinely tortures detainees and prisoners at its

   headquarters, a 16-story office building at the Plaza Venezuela in Caracas.

   Interrogations, including acts of torture, led by the Counter Intelligence

   Directorate, are carried out on the tenth floor of the Plaza Venezuela building.

   Accounts of former detainees indicate that from 2014 to 2018, SEBIN officers

   committed such acts of torture in the presence and/or under the supervision of

   more senior officers.

             89.    The Plaza Venezuela building also includes five underground

   floors, dubbed “La Tumba,” or “The Tomb,” by Venezuelan officials. There,

   political prisoners are held five stories underground in inhumane conditions at

   below freezing temperatures and with no ventilation, sanitation, or daylight.

   The cells are two by three meters, with a cement bed, security cameras and

   barred doors, each cell aligned next to one another so there are no interactions

   between prisoners. These conditions have caused prisoners to become very ill,

   despite which they are denied medical treatment.




   45   Id. at ¶ 1985.

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         90.    SEBIN also detains political prisoners at a second building, known

   as El Helicoide. The Guardian describes it as a “high-profile prison for political

   detainees” where prisoners report “people being beaten, electrocuted, hung by

   their limbs, forced into stress positions and forced to plunge their face into a

   bag of feces and breathe in.” 46 Other El Helicoide prisoners report being forced

   to eat excrement. 47

         91.    In addition, SEBIN agents perpetrate “acts of sexual or gender-

   based violence against detainees in an attempt to elicit confessions or

   information implicating others, or to degrade, humiliate or punish them.

   During interrogation, SEBIN officers threaten[] to rape both male and female

   detainees using body parts and objects.” 48

         92.    Maduro himself “knew of violations and crimes, notably the

   arbitrary detentions and acts of torture or cruel, inhuman and degrading

   treatment, including acts of sexual violence, documented in this report and

   carried out within SEBIN since 2014.” 49


   46 See Emma Graham Harrison, Downward Spiral: How Venezuela’s symbol of progress
   became a political hell, The Guardian, Sept. 15, 2017, available online at
   https://www.theguardian.com/world/2017/sep/15/el-helicoide-venezuela-caracas-building-
   symbol.
   47 See Rachell Krygier and Joshua Partlow, In Venezuela, Prisoners Say Abuse Is So Bad

   They Are Forced to Eat Pasta Mixed with Excrement, Washington Post, June 24, 2017,
   available online at https://www.washingtonpost.com/world/the_americas/in-venezuela-
   prisoners-say-abuse-is-so-bad-they-are-forced-to-eat-pasta-mixed-with-
   excrement/2017/06/23/39a0c85e-4acb-11e7-987c-42ab5745db2e_story.html.
   48 UNHRC Detailed Findings Report, supra n.1, at ¶ 286.

   49 Id. ¶ 1988.



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                          ii.   The “Playbook” for the arbitrary detention,
                                torture and murder of political opponents.

             93.    The Maduro Criminal Enterprise’s suppression of political

   dissidents follows a well-worn playbook. To begin, SEBIN acts at the behest

   of the Maduro Criminal Enterprise, including Maduro himself, who “at times .

   . . gave orders to the Director General and to Directors of other units in

   SEBIN,” marking individuals for SEBIN to persecute. 50 According to a former

   SEBIN officer interviewed by the U.N. Fact Finding Mission, orders

   determining targets for investigation came from President Maduro and other

   Cartel of the Suns leaders.

             94.    SEBIN then conducts surveillance on the targeted dissidents. The

   targets, their family, and their associates may be followed and photographed,

   and their phones tapped, their electronic messages intercepted. 51        SEBIN

   receives full support from the Maduro Regime in these unlawful activities,

   including any necessary human and material resources.

             95.    After the surveillance stage, SEBIN conducts arbitrary arrests.

   The UNHRC observed that, since the end of July 2017, security forces, notably

   the intelligence services, have used arbitrary and unlawful detentions as one

   of the main tools to intimidate and repress the political opposition or any



   50   Id.
   51   Id. at ¶ 1984.

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   person perceived as a threat to the Government for expressing dissent or

   discontent. Persons arbitrarily deprived of their liberty included political and

   social activists, students, human-rights defenders, media workers, and

   members of the armed forces.

              96.   After making baseless arrests, SEBIN then tortures, and in some

   instances arbitrarily executes, the detainees.

              97.   Thereafter, SEBIN takes various steps to justify and cover-up its

   misconduct.        SEBIN often falsifies and plants evidence in an attempt to

   “incriminate” its victims. According to a former SEBIN employee, the planting

   of evidence was sufficiently pervasive that it made its way into the workplace

   lexicon in SEBIN, being referred to as “the seeds.” 52 Former SEBIN director

   Christopher Figuera, similarly, said that he had received orders directly from

   President Maduro to plant weapons in the apartment of an opposition

   politician. As well, SEBIN attempts to force its victims to confess to crimes

   they did not commit and to implicate others for the purported crimes that they

   did not commit.

              98.   A related part of the playbook is that SEBIN will fabricate

   spurious charges against the victim. The UNHRC noted that leaders and

   members of opposition parties, including elected representatives, as well as



   52   Id.

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   social activists, and human-rights defenders were publicly accused of

   terrorism, treason and other serious crimes. A common pattern in nearly all

   the cases investigated by the U.N. Fact Finding Mission was that high-level

   government officers, including Defendants Maduro and Attorney General

   Tarek William Saab, made public statements referring to detentions either

   shortly before or shortly after they took place, commenting on the supposed

   criminal responsibility of the accused.

            99.     Finally, in many instances, SEBIN conducts raids of the homes

   and offices of its victims, destroying evidence and stealing property.

                       4. Kleptocracy and Corruption

            100. In the words of the United States District Attorney for the

   Southern District of Florida, Ariana Fajardo Orshan, “[o]ver the last decade,

   corrupt Venezuelan government officials have systematically looted Venezuela

   of billions of dollars.” 53 The Maduro Regime’s looting of billions of dollars from

   Venezuela’s Treasury has played a major role in sending Venezuela’s economy

   into a death spiral and in causing a humanitarian crisis of unfathomable

   proportions.

            101. The looting of the Venezuelan treasury took multiple forms. For

   example, U.S. law enforcement identified almost a billion dollar in transfers



   53   DOJ Press Release, supra n. 6, at 1.

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   from subsidiaries of Venezuela’s state-owned oil company—Petróleos de

   Venezuela, S.A.      (“PDVSA”)—to the bank accounts of various Venezuelan

   contractors in South Florida. 54 From there, a substantial amount of money

   was transferred from the contractors’ accounts in Miami as bribes for the

   benefit of Venezuelan government officials.

          102. Defendant Moreno Perez, in his position as Chief Justice of the

   Venezuelan Supreme Court, supported this corruption by accepting massive

   bribes in exchange for affecting the outcomes of criminal and civil cases in

   Venezuela, including directing lower-court judges to dismiss particular cases

   or release certain defendants. For example, with respect to an individual

   charged in the United States for his role in a multibillion-dollar PDVSA fraud

   scheme, Moreno Perez helped the individual get the case against him in

   Venezuela dismissed.55 In exchange for a $1 million bribe—which came from

   a Miami bank account that held the proceeds of corruptly inflated PDVSA

   contracts—Moreno Perez arranged for a PDVSA contractor charged with

   corruption to be released from detention in Venezuela. 56




   54 See Affidavit of Shauna L. Willard, Special Agent, Homeland Security Investigations, ¶ 7,
   United States v. Maikel Jose Moreno Perez, 20-cr-2407 (S.D. Fla. 2020), available online at
   https://www.justice.gov/opa/page/file/1261816/download.
   55 Id. ¶ 20.

   56 Id. ¶¶ 23-32.



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                  5. Money Laundering

         103. The Maduro Criminal Enterprise laundered proceeds of its

   criminal endeavors through the United States, especially South Florida.

         104. For example, Defendant Moreno Perez laundered and expended a

   significant portion of his ill-gotten gains in South Florida. From 2012 to 2016—

   when his salary in Venezuela was $12,000 per year—Moreno Perez’s bank

   records show approximately $3 million in expenditures primarily in the

   geographical area of South Florida. Additionally, bank records show that he

   paid approximately $1 million for a private aircraft and private pilot. Bank

   records also show that he spent more than $600,000 in credit or debit card

   purchases at stores primarily in the South Florida area (including tens of

   thousands of dollars at luxury stores in Bal Harbor, such as Prada and

   Salvatore Ferragamo), approximately $50,000 in payments to a luxury watch

   repair store in Aventura, and approximately $40,000 in payments to a

   Venezuelan beauty pageant director.

         105. Similarly, Motta Dominguez, the Venezuela Minister of Electrical

   Energy and President of Corporacion Electrica Nacional, S.A. (“Corpoelec”),

   Venezuela’s state-owned electricity company, is a member of the Maduro

   Criminal Enterprise who participates in the Maduro Criminal Enterprise’s

   public-corruption offenses. He was part of a multimillion-dollar scheme in

   which Florida companies, in violation of the Foreign Corrupt Practices Act,

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   paid bribes to receive awards of Corpoelec contracts. He was indicted in the

   United States District Court for the Southern District of Florida for conspiracy

   to launder the bribe proceeds in this district. 57

         106. In addition, “Maduro and others agreed to launder many millions

   of dollars from the FARC by purchasing palm oil extraction equipment from

   Malaysia with drug proceeds, which would be used to support the operation of

   African palm plantations in Venezuela that would appear legitimate.” 58

         107. Similarly, the Maduro Criminal Enterprise choreographed a

   billion-dollar international scheme to launder funds embezzled from

   Venezuelan state-owned oil company PDVSA using Miami, Florida real estate

   and sophisticated false investment schemes. 59

             E. The Albán Family

         108. Around thirty-five years ago, Ms. Albán Osio and Ms. Albán met

   when they were working together at entry-level positions at a bank in Caracas.

   They soon began dating. At that time, they had very little to their names.

   They came from poor families. They owned neither a home nor a business;


   57 See Indictment, United States v. Luis Alfredo Motta Dominguez, 19-cr-20388 (S.D. Fla.
   2019), available online at https://www.justice.gov/opa/page/file/1261781/download.
   58 See Maduro Indictment, supra n. 4, at ¶ 15c.

   59 See Press Release, U.S. Dep’t of Justice, Two Members of Billion-Dollar Venezuelan

   Money Laundering Scheme Arrested (July 25, 2018), available at
   https://www.justice.gov/opa/pr/two-members-billion-dollar-venezuelan-money-laundering-
   scheme-
   arrested#:~:text=Matthias%20Krull%2C%2044%2C%20a%20German,conspiracy%20to%20c
   ommit%20money%20laundering.

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   they had neither college degrees nor children. But they were in love, they were

   honest and hardworking, and they were determined to build a life together.

         109. Six years later, they were married. They were still in college—a

   first in both of their families. And they were each working two jobs just to pay

   tuition.

         110. Some five years after the wedding, Ms. Albán Osio gave birth to

   their first child, a son, Fernando Albán Osio. Mr. Albán was so happy and joked

   that he wanted three more. Two years later, he was completely enamored with

   their newborn daughter, Maria Fernanda Albán Osio. Together, they had

   formed a beautiful family.

         111. Mr. Albán and his wife then put their college degrees to work.

   They founded their own corporate legal and accounting firm called Audi-Con

   Contadores Publicos S.C. (“Audi-Con”), which Ms. Albán Osio used to call

   “their second marriage” and “their third child.” They worked together every

   day to grow their fledgling business.

         112. In the fullness of time, they bought a home together. They stayed

   focused on work, family and faith, and by doing that, they flourished. Their

   life was peaceful and lovely. It was everything they had dreamed. It was what

   they had realized through love, sweat and tenacity. It is what the Maduro

   Regime was about to destroy.



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  III.   THE MADURO CRIMINAL ENTERPRISE’S CRIMES AGAINST
         MR. ALBÁN AND HIS FAMILY

            A. Death threats forced Mr. Albán’s family to flee Venezuela,
               breaking the family apart.

         113. The trouble for the Albán family started in 2013, when Mr. Albán

   ran for city council. Mr. Albán ran as a member of the Justice First party. The

   Justice First party is a highly diverse, progressive political party that is united

   in its opposition to the Maduro regime. Justice First favors, among other

   things, increasing local autonomy and abolishing the corrupt and unlawful

   Constituent Assembly that Maduro installed to support his authoritarian

   control of Venezuela.

         114. On December 8, 2013, Mr. Albán won his contested election for a

   low-level Venezuelan office: municipal council representative for the

   Libertador Municipality of the Capital District (Caracas).

         115. As committed as Mr. Albán was to the cause of a free and

   democratic Venezuela, his even greater passion was serving his constituents,

   an objective he worked to achieve above and beyond expectations, from the

   seemingly modest platform of his local municipal position.

         116. For example, as a board member of Justice First, he accepted what

   others saw as an undesirable assignment: religious outreach. Fernando, who

   was a pious Catholic, relished it. He quickly made friends with clergy from all



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   religious denominations: priests, ministers, rabbis, imams—they all saw the

   good that Fernando was trying to do.

         117. Mr. Albán and his wife also started a soup kitchen for the poor.

   Like their accounting business, it was a family affair. They did the cooking

   and food distribution themselves.

         118. In 2015, Mr. Albán and his family received a series of serious of

   threats of violence and death from low-level, local members of Maduro’s party.

         119. In September 2015, Mr. Albán’s son, Fernando Albán Osio, fled

   Venezuela after receiving multiple death threats and sought asylum in the

   United States.

         120. In July and September 2017, Mr. Albán’s wife and daughter also

   fled Venezuela following what they took to be serious threats of death and

   violence.

         121. Both Ms. Albán Osio and Maria Fernanda Albán Osio were

   granted asylum in the United States in July 2018.

         122. For the Albán family—a family that lived under the same roof,

   worked together at the family business, worshiped together at the same

   neighborhood church where the children were baptized, served together at the

   family soup kitchen—being forced to separate due to the death threats was

   extraordinarily disruptive and painful.



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         123. While Ms. Albán Osio and the children were in the United States

   and Mr. Albán remained in Venezuela, they would talk on the phone for hours

   every day. Mr. Albán missed his family dearly, but he also had a deep sense

   of duty to the people of Venezuela, a country that had grown poorer and more

   destitute under the Maduro Regime.

            B. Mr. Albán’s family saw him alive for the last time during a
               brief visit to New York.

         124. In mid-August 2018, Fernando traveled to New York to see his

   family. It was a happy time for the Albán family—they celebrated Mr. Albán’s

   birthday and talked about plans for their life in New York.

         125. As it happened, the janitor in the apartment where the Albán

   family was staying had just been fired. Mr. Albán did not hesitate to lend a

   hand. He gladly washed floors and cleaned the bathroom they shared with

   other tenants—because that was the right thing to do.

         126.   Sadly, this visit was the last time that Mr. Albán’s family would

   ever see him alive.

            C. In disregard of U.S. sovereignty, Maduro operatives,
               acting in New York, aided and abetted Mr. Albán’s
               kidnapping and murder.

         127. As discussed above, ¶¶ 93-94, when the Maduro Regime takes

   action against political opponents, it typically works from a “playbook,” in




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   which the first step is surveillance of the victim, his associates, friends and

   family. That is what happened here.

         128. While in New York, Mr. Albán met with Justice First party

   leaders, including two of the party’s leaders and foremost luminaries: Julio

   Borges and Gustavo Marcano. In 2018, together with Mr. Borges and Mr.

   Marcano, Mr. Albán participated in several meetings and events at the United

   Nations General Assembly.

         129. At the same time, Maduro’s agents took to the streets of New York,

   where they surveilled and photographed the Justice First delegation while the

   delegates attended events in connections with the U.N. General Assembly.

         130. Members of the Justice First opposition delegation in which Mr.

   Albán participated spotted Maduro’s agents, became suspicious of them, and

   in particular, the fact that the agents were following and photographing the

   delegation. Delegation members were extremely concerned for their safety and

   wellbeing, and promptly reported the unlawful espionage to the police.

         131. It is unclear whether members of the delegation were able to spot

   Maduro’s agents tailing them because of the delegation’s heightened

   situational awareness borne of years of living in a Venezuelan police state, or

   if Maduro’s agents chose to allow themselves to be seen to intimidate members

   of the delegation.



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          132. In any event, on information and belief, it was precisely because

   Maduro agents flagged Mr. Albán in New York that the Maduro Regime, at the

   highest levels, focused its wrath on Mr. Albán. The actions of the Maduro

   agents in New York not only aided and abetted, but indeed caused, Mr. Albán’s

   kidnapping, torture and murder.

          133. One of the Justice First delegation members—Gustavo Marcano,

   who cofounded Justice First, who holds a Public Policy degree from

   Georgetown University, and who was elected as Mayor of the city of Lecheria

   at age 25, the youngest mayor in Venezuelan history—sat for a television

   interview four days after Albán’s murder. During the interview, Mr. Marcano

   explained that Mr. Albán concluded that he needed to return to Venezuela

   serve his community. In Mr. Marcano’s words: “And what Fernando [Mr.

   Albán] told us is that . . . he had to return to fulfill his function as counselor of

   Caracas and with the function that he also had in the parish where he lived,

   he worked in food shelters that had been created to care of children, hundreds

   of children in Caracas.” 60

          134. Mr. Marcano further explained that it was the actions of Maduro’s

   agents in New York that led to Mr. Albán’s death: “When we were in New



   60See “La Noche”, ¿Suicidio o Asesinato? Las Diferentes Hipótesis Alrededor de la Muerte de
   Fernando Albán, (Interview of Gustavo Marcano, Justice First party member, by Jefferson
   Beltran Neira, subdirector “La Noche”, starting at minute 42) (Canal NTN 24 television
   broadcast Oct. 12, 2018), available at https://www.youtube.com/watch?v=Z_g9FYQ6Lcg.

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   York, the Venezuelan delegation led by Julio Borges was being persecuted by

   people accredited by the Venezuelan Consulate.           They were handling the

   monitoring, photographs, videos.         I am convinced . . . that this is where

   Fernando Albán was identified [by the Maduro regime]. And that is what led

   to his arrest [upon] returning to Caracas. Fernando was a low-profile leader. .

   . . He was not a leader with high public exposure and the only way that the

   regime, I am convinced, recognized Fernando was a product of that persecution

   that we went through when we were there in New York.” 61

             135. The Reporter then asked Mr. Marcano a follow-up question, and

   Mr. Marcano again confirmed that the actions of Maduro’s henchmen in New

   York had led to Mr. Albán’s death:

                     Reporter: Doctor Marcano, what you are telling me that
                     as a result of going to New York to the United Nations
                     meeting is for that reason why the [Maduro] regime makes
                     the decision to capture him at the moment he steps on
                     Venezuelan soil?

                     Marcano: Yes, for attending the United Nations meeting
                     and the regime had people following the Venezuelan
                     opposition delegation there in New York and I am sure that
                     this is how they managed to identify Fernando Albán and
                     that is why when Fernando just landed in Caracas he was
                     arrested [and] . . . illegally kidnapped by the SEBIN. 62




   61   Id. (unofficial translation).
   62   Id. (unofficial translation).

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            D. The Maduro Criminal Enterprise abducted Mr. Albán at
               Simón Bolívar International Airport.

         136. In early October 2018, Mr. Albán prepared to travel back to

   Venezuela.

         137. He purchased enough goods to fill three suitcases with gifts for

   family and friends in Venezuela, from basic items such as toiletries and food

   (which have been scarce in Venezuela for years), to electrical and mechanical

   educational kits to teach children trade skills.

         138. On October 5, 2018, Mr. Alban returned to Venezuela, arriving at

   Simón Bolívar International Airport near Caracas.

         139. As was his custom, Mr. Albán called his wife on his cell phone and

   informed her that he had landed. However, shortly thereafter, when Mr. Albán

   passed through immigration, he was unexpectedly “detained” and abducted by

   armed, masked SEBIN officers. SEBIN’s detention and abduction of Mr. Albán

   was unlawful under Venezuela law and international law—they had no

   grounds to detain Mr. Albán, let alone a warrant for his arrest.

         140. In detaining and abducting Mr. Albán, the SEBIN officers acted as

   Maduro’s agents, as members of the Maduro Criminal Enterprise, and

   pursuant to the Maduro Criminal Conspiracy.

         141. Through quick action, Mr. Albán managed to inform a family

   member via text message that SEBIN officers were in the process of detaining


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   him. The family member (“John Doe”) prefers to remain unnamed for fear of

   reprisal by the Maduro Criminal Enterprise.         But for that text-message

   warning, Mr. Albán might have vanished without a trace after SEBIN

   snatched him at the airport.

         142. Maduro Regime agents, in connection with Mr. Albán’s

   kidnapping, stole Mr. Albán’s luggage and the contents, which the Maduro

   Regime has never returned to his family.

            E. The Maduro Regime subjected Mr. Albán to a forced
               disappearance.

         143. Fearing for Mr. Albán’s safety, John Doe reached out for support

   to a lawyer and a Justice First party representative.       The three of them

   immediately traveled in person to Simón Bolivar International Airport to

   investigate.

         144. Upon arriving at airport, John Doe, the lawyer, and the Justice

   First party representative inquired about Mr. Alban at the airport’s SEBIN

   office, but SEBIN provided them with no information whatsoever. Indeed,

   SEBIN did not even confirm that it had taken Mr. Albán.

         145. Concerned that the SEBIN office at the airport was stonewalling

   them, and that Mr. Albán might be subject to a forced disappearance, Mr.

   Albán’s relative, the lawyer, and the Justice First official immediately traveled

   from the airport into the city of Caracas.        They first went to SEBIN


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   headquarters in Plaza Venezuela and inquired about Mr. Albán, but SEBIN

   falsely denied having him in custody there. 63 Mr. Albán’s advocates then went

   to the El Helicoide prison, but again SEBIN officers denied having Mr. Alban

   in custody.

         146. In short, John Doe’s fears that Maduro Regime was subjecting Mr.

   Albán to a forced disappearance were confirmed.

             F. The Maduro Regime pressured Mr. Albán to give false
                testimony against Maduro’s political opponents.

         147. The following morning (Saturday, October 6, 2018), Mr. Albán’s

   family filed a formal complaint with the Public Prosecutor’s Office for

   Fundamental Rights, setting forth that Mr. Albán was missing. Several

   prominent people, including religious leaders, made public demands that the

   Maduro Regime provide information on Mr. Albán’s whereabouts and

   detention status. 64



   63 See La Tarde, Abogado del Concejal Fernando Albán Duda Que el Edil se Haya
   Suicidado (NTN24 Venezuela broadcast October 8, 2018) (Counselor Fernando Albán's
   Lawyer Doubts That the Mayor Has Committed Suicide) available at
   https://www.youtube.com/watch?v=jQ6rpRa8Xjs; Diputados y Representantes de la
   Oposición Venezolana se Encuentran en las Afueras del Sebin de Plaza Venezuela Para
   Intentar Obtener Información Sobre la Muerte del Concejal Fernando Albán (Viva Play
   television broadcast Oct. 8, 2018) (Deputies and Representatives of the Venezuelan
   Opposition Meet on the Outskirts of SEBIN in Plaza Venezuela to Try to Obtain
   Information on the Death of Councilor Fernando Albán), available at:
   https://www.youtube.com/watch?v=2DIEkiDthxE.
   64 Rossana Franco Zambrano, Cardinal Urosa Savino Demands Respect for the Rights of

   Fernando Albán, Analytica, (Oct. 6, 2018) available at
   https://www.analitica.com/actualidad/actualidad-nacional/cardenal-urosa-savino-exige-
   respeto-a-los-derechos-de-fernando-alban/;

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         148. In response to the sudden and very public pressure by these

   various leaders, SEBIN permitted Mr. Albán, during in the afternoon of

   October 6, 2018, to make a telephone call to his wife. By then, more than 24

   hours had already elapsed since his kidnapping.

         149. Mr. Albán informed his wife that he was in detention on the tenth

   floor of the SEBIN’s Plaza Venezuela building, home to the counter-

   intelligence section. This news was immediately terrifying to Ms. Albán Osio.

   She was well aware of SEBIN’s reputation for torturing political prisoners,

   especially on the 10th Floor of the HQ building and in its basement, The Tomb.

   Many political prisoners have died brutal deaths there at hands of Maduro

   Regime agents, after experiencing various forms of torture including

   waterboarding, electric shocks, asphyxia, beatings, mock executions, deep cuts,

   cigarette burns and sexual abuse.

         150. Mr. Albán was forced to make the call to his wife on speaker phone,

   and Ms. Albán Osio could hear several other voices in the background behind

   her husband. Although Mr. Albán was limited in what he could tell his wife

   about his treatment because he was on speaker phone, he was able to drop

   hints about the dangers he was facing.

         151. To begin, when Ms. Albán Osio asked her husband why he was

   being detained, Mr. Albán loudly repeated the question to the Maduro Regime

   agents surrounding him, and Ms. Albán Osio heard different voices chime in

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   with responses.    The SEBIN officers offered a laundry list of fabricated

   offenses, such as “terrorism,” and “attempt to assassinate the president.”

         152. In addition, Mr. Albán was able to reveal that he was being

   pressured to falsely incriminate a leader of the Justice First party.

   Specifically, he told his wife that: “the [SEBIN] captain told me that if I blame

   [Justice First co-founder and party leader] Julio Borges for the [August 4, 2018]

   drone [attacks that supposedly were an attempt on Maduro’s life], they will let

   me go…. But I don’t know anything about that, I told him that already…”

         153. Mr. Albán offered his wife additional insight into the pressure he

   was facing, explaining that the agents told him to ask to be “transferred” to

   the El Helicoide (the other notorious SEBIN facility) so that he could be with

   his “people” (the other political prisoners).

         154. Mr. Albán also asked his wife about their kids and told her to

   remain strong and united. Ms. Albán Osio was optimistic that SEBIN would

   eventually let her husband go—everyone knew that Mr. Albán had nothing to

   do with that alleged drone attack, and that any suggestion to the contrary was

   preposterous. But unbeknownst to Ms. Albán Osio, that was the last time she

   would ever hear her husband’s voice. Mr. Albán was never again allowed to

   call anyone else, including other family members or even legal counsel.




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              G. The Maduro Criminal Enterprise fabricated charges to
                 support its abduction and detention of Mr. Albán.

         155. On October 7, 2018, almost two days after his kidnapping, SEBIN

   officers took Mr. Alban to Caracas Palace of Justice Courthouse, where he was

   presented to a court that declined jurisdiction and instead referred the case to

   the Court of Control on Terrorism-Related Crimes (the “Terrorism Court”), for

   assignment to Judge Carol Padilla.

         156. This Terrorism Court is the part of the judiciary that the Maduro

   Regime uses to target opposition leaders. Within the court, the Maduro

   Regime frequently steers cases against opposition politicians to Judge Carol

   Padilla.    She has presided over several other cases that independent

   international observers have widely criticized for denying defendants due

   process and imposing political motivated convictions and sentences against

   innocent individuals. 65

         157. In any event, on October 7, 2018, the Terrorism Court was

   supposedly “closed,” so no hearing took place. Consequently, Mr. Albán was

   not informed of the alleged “crimes” with which he was being charged, there

   was no hearing for his release from custody (as required by Venezuelan law),



   65See Nurelyin Contreras, Profile: Who is Judge Carol Padilla? The Lawyer in Charge of
   Convicting the Opposition, Punto de Corte (May 26, 2019) available at:
   https://puntodecorte.com/juez-carol-padilla/; Carol Padilla: Profile of a Commissioned
   Judge, Armando Info (Aug. 18, 2019), available at:
   https://armando.info/Reportajes/Details/2593.

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   nor was he able to access to any of the documents upon which the “arrest” was

   supposedly based.

         158. Mr. Albán was permitted to speak to his attorneys for just a few

   minutes. He used the time to let them know that SEBIN was putting undue

   pressure on him to falsely testify that National Assembly deputy Julio Borges

   had been behind the purported drone attack against Nicolas Maduro on August

   4, 2018.

         159. Mr. Albán’s attorney’s received a copy of a only a single document:

   an “arrest warrant” that falsely accused Mr. Albán of crimes including

   terrorism,    attempting to murder the President and the military high

   command, treason and conspiracy.      Contrary to the requirements of the

   Venezuelan Criminal Procedure Code, the        warrant did not provide any

   evidentiary support for Mr. Albán’s arrest. Indeed, no such evidence ever

   existed.

         160. This was the last time Mr. Albán spoke to his attorneys—and that

   he was seen alive by anyone other than members of the Maduro Criminal

   Enterprise.

              H. The Maduro Regime tortured and murdered Mr. Albán.

         161. Between Saturday, October 6, when Mr. Albán met briefly with his

   lawyers, and Monday, October 8, when SEBIN threw Mr. Albán’s corpse from

   their headquarters, SEBIN tortured and murdered Mr. Albán. The truth,

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   however, was slow to emerge in full due to the Maduro Regime’s cover-up and

   its smear campaign against Mr. Albán.

         162. To begin, at around 3.35 p.m. on October 8, 2018—the same day

   that Mr. Albán’s body was thrown from SEBIN HQ—Venezuelan Attorney

   General Tarek William Saab announced by telephone during a VTItv broadcast

   that Mr. Albán “had committed suicide.” AG Saab’s story, at least at that

   moment, was that “[t]he councilman asked to go to the bathroom and, while

   there, threw himself into the void from the tenth floor.” 66 The Attorney

   General also claimed Mr. Albán “was being investigated for” a variety of

   trumped-up charges including “the attempted assassination of President

   Nicolás Maduro.” 67

         163. The Maduro Regime posted the VTItv broadcast on the official

   Venezuelan VTtv channel on Youtube.com 68 and elsewhere on YouTube. 69 AG

   Saab’s false statements were picked up by the Miami Herald and other leading

   US media. 70


   66 See EN DIRECTO: Fiscal General Sobre Presunto Suicidio del Concejal Fernando Albán
   (VTV Canal 8 television broadcast Oct. 8, 2018) (the “AG Saab Television Broadcast”),
   available at https://www.youtube.com/watch?app=desktop&v=K1j1PLu4m7s&t=152s%3B
   67 Id.

   68 See EN VIVO: Confirman Muerte Del Concejal Fernando Albán (VPItv television

   broadcast Oct. 8, 2018), available at
   https://www.youtube.com/watch?app=desktop&v=CTmxMprMJJI.
   69 See AG Saab Television Broadcast, supra n. 64.

   70 Antonio Delgado, Did Venezuelan Opposition Leader Jump or Was He Thrown from

   Secret Police Building?, Miami Herald (Oct. 9, 2018), 2018 WLNR 31271158 (“According to
   Maduro's prosecutor, Tarek William Saab, Albán was being held at the police headquarters

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         164. In fact, AG Saab’s story was a total fabrication, and it did not

   withstand scrutiny for long because the bathrooms on the 10th floor of that

   building—from which Saab claimed that Mr. Albán jumped—do not have

   windows. 71

                                 [Continued on Next Page]




   in Caracas when he ‘asked to go to the bathroom, and once there he jumped from an open
   window.’”) (“Was He Thrown”), available at https://www.miamiherald.com/news/nation-
   world/world/americas/venezuela/article219725780.html; Scott Smith, Deb Riechmann, and
   Ariana Cubillos, Venezuelan Politician Mourned after Suspicious Death, AP Alerts (Oct. 10,
   2018) (“Venezuela's chief prosecutor doubled down Wednesday on claims that a jailed
   opposition activist killed himself while the Trump administration condemned the
   government of President Nicolas Maduro for its alleged involvement in the suspicious
   death.”), available at https://nationalpost.com/pmn/news-pmn/us-sees-venezuela-
   government-involvement-in-activists-death.
   71 Ibéyise Pacheco, The Bathroom Cubicle in the Sebin Has No Window, The National (Oct.

   8, 2018), available at https://www.elnacional.com/venezuela/politica/ibeyise-pacheco-
   cubiculo-del-bano-sebin-tiene-ventana_254969/; Carla Angola (@carlaangola) (Oct. 8, 2010
   11:50 AM), https://twitter.com/carlaangola/status/1050051051062222849 (“Tarek lied by
   saying that @albanfernando was launched from the restrooms (NO WINDOWS) and
   Reverol lied by saying he was launched from the meeting room (NO WINDOWS). They will
   not be able to cover up this state murder.”) (unofficial translation).
   .

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         165. Later that same day, Venezuelan Interior Minister Néstor Reverol

   made a statement with a significantly different version of events. According

   to Minister Reverol: “Mr. Alban had been in the waiting room [and not the




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   bathroom, as AG Saab claimed] at SEBIN Plaza Venezuela for transfer to

   court, when he threw himself out of a window falling to his death.” 72

           166. Minister Reverol also tweeted on October 8, 2018: “It was learned

   of the suicide of Fernando Alban, who had been detained in the Sebin since

   October 5 for the investigation of the attempted assassination and being

   involved in destabilizing acts directed from abroad, of which there is sufficient

   evidence.” 73 On information and belief, this tweet was reviewed by numerous

   members of the Venezuelan community in exile in South Florida.

           167. Minister Reverol made his announcements that Mr. Albán had

   committed suicide before any investigation had been (or could have been)

   performed. Like AG Saab’s statements, Minister Reverol’s statements were

   lies.

           168. After hearing AG Saab and Minister Reverol’s announcements,

   Mr. Albán’s relatives, along with lawyers, political activists, and friends, went

   to SEBIN headquarters in Plaza Venezuela seeking information. But SEBIN

   officers refused to provide any information and, through implicit threats of

   violence, quickly forced everyone seeking information to disperse.



   72 Unofficial translation. See Nestor Luis Reverol (@NestorReverol), Twitter (Oct. 8, 2018),
   https://twitter.com/VPITV/status/1049387595032158213/photo/1
   73 Valentina Larez Martiz, Muere Líder Opositor Venezolano que Estaba en Poder del Sebin,

   El Tiempo (Oct. 8, 2018 10:29 PM) (unofficial translation), available at
   https://www.eltiempo.com/mundo/venezuela/muere-lider-opositor-venezolano-fernando-
   alban-por-presunto-suicidio-278748.

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            169. Eventually, after providing multiple inconsistent versions of

   events surrounding Mr. Albán’s death, the Maduro Regime claimed that Mr.

   Alban had jumped from this window: 74




            170. But again, the Maduro Regime’s story does not withstand scrutiny.

   The only fingerprints found on the window from which Mr. Alban allegedly

   jumped belong to a SEBIN officer; none of Mr. Albán’s prints were

   found.75 Given that the window only opened to about 30 degrees and Mr. Alban

   was about 5” 8’ tall, it would have been impossible for him to climb though it

   without touching it.




   74   UNHRC Detailed Findings Report, supra n. 1, at ¶ 661.
   75   Id. ¶ 661.

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          171. Continuing with the hasty cover-up that began with AG Saab and

   Minister Reverol lying to the public about Mr. Albán’s cause of death, the

   Maduro Regime, in the late afternoon of October 8, secretly transferred Mr.

   Alban’s body to a forensic medicine unit in Bello Monte that they controlled.

          172. Fortunately, this closely held news nevertheless leaked to certain

   of Mr. Albán’s associates.       His family members and several others, after

   learning where Mr. Albán’s body was being held, travelled to the morgue in

   Bello Monte.

          173. A close family member was eventually allowed enter to the morgue

   to identify Mr. Albán’s body, but once inside, was denied access to the

   body. Instead, Maduro Regime agents insisted that the family member

   “identify the body” based on a photograph that the agents kept afterwards. At

   around 8.35 p.m. on the same day that Mr. Albán was thrown from the SEBIN

   building, and after Mr. Albán’s corpse had been in the Bello Monte morgue for

   only a handful of hours, Mr. Albán’s body was delivered to his family for

   burial. 76

          174. Also that day, the Bello Monte forensic medicine unit issued a

   death certificate to Mr. Albán’s family. Cause of death was recorded as “severe




   76EN VIVO: Entregan Cuerpo del Concejal de Primero Justicia (VPItv television broadcast
   Oct. 8, 2018) (body of Justice First official is delivered), available at
   https://www.youtube.com/watch?v=ozucDPMjVWs.

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   cranial encephalic trauma; secondary hypovolemic shock; abdominal pelvic

   thoracic trauma from a fall from height.” The death certificate was not dated.

          175. The following day (October 9, 2018), Mr. Albán’s family requested

   a dated death certificate. In response, the Maduro Criminal Enterprise issued

   a new death certificate, but it changed the supposed cause of death to “severe

   craniofacial trauma” (rather than severe cranial encephalic trauma). 77

          176. A different doctor signed the new death certificate. 78 The doctor

   who had signed the original death certificate was registered as a community

   doctor (general practitioner) and, on information and belief, did not have any

   expertise in anatomical pathology (or otherwise in conducting autopsies). As

   such, under the Venezuelan Criminal Procedure Code, that doctor would not

   have been authorized to conduct an autopsy. 79

          177. Even more troubling, the doctor who signed the second death

   certificate identified himself on the certificate using an identity card number

   that, according to the website of the National Electoral Council, corresponds to

   another person. In other words, the second doctor provided a false identity.




   77 Death Certificate No. 37ro90 issued by the Civil Registrar of San Pedro Parish,
   Libertador Municipality, Capital District (Oct. 9, 2018).
   78 Death Certificate EV14 No. 90100289, issued by the Forensic Medicine Office of Bello

   Monte, Libertador Municipality, Capital District (Oct. 9, 2018).
   79 Criminal Procedure Code, art. 200.



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         178. Subsequently, the U.N. Fact Finding Mission retained two

   independent, international forensic experts to review the so-called “autopsy” of

   Mr. Albán. Both experts confirmed that the Maduro Regime, which had Mr.

   Albán’s corpse for less than a day, simply did not have sufficient time to

   perform a forensically valid autopsy.

         179. The U.N. experts specialized in (a) the Minnesota Protocol on the

   Investigation of Potentially Unlawful Death (2016), a set of international

   guidelines for the investigation of suspicious deaths, particularly those in

   which the responsibility of a State is suspected and (b) the Manual on Effective

   Investigation and Documentation of Torture and Other Cruel, Inhuman or

   Degrading Treatment or Punishment, commonly known as the Istanbul

   Protocol, which is the first set of international guidelines for documentation

   of torture and its consequences. The U.N. experts concluded that Mr. Albán’s

   autopsy complied with neither the Istanbul Protocol nor the Minnesota

   Protocol.

         180. The U.N. experts condemned the autopsy because there was “no

   indication that those performing the autopsy searched for evidence of torture

   or ill-treatment, sexual violence, asphyxiation, hallucinogen drugs or




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   sedatives.” 80 The U.N. additionally criticized the Maduro Regime for failing to

   allow anyone representing the family to observe the autopsy.

         181. In sum, the Maduro Regime conducted rushed and shoddy

   “autopsy” that was designed to cover-up Mr. Albán’s torture and murder.

         182. On October 10, 2018, two days after Mr. Albán’s murder, Attorney

   General Tarek William Saab made another public statement about Mr. Alban’s

   death, supposedly based on the “autopsy.” During those remarks, AG Saab

   contradicted his early statement about Mr. Albán’s supposed suicide, stating

   that “[i]t has never been said that Fernando Alban threw himself out of the

   bathroom window. When he said he wanted to go to the bathroom, he took

   advantage of the circumstance and ran to throw himself out from a panoramic

   window on the tenth-floor corridor.” 81

         183. Another member of the Maduro Criminal Enterprise—Diosdado

   Cabello, who is both the President of National Constituent Assembly (the

   legislative body that Maduro created as an alternatively to the democratically

   elected National Assembly) and a leader of the Cartel of the Suns—also made

   false statements about Mr. Albán’s death. Ironically, Cabello intonated that

   the opposition was “playing politics” by refusing to accept the Maduro Criminal


   80Id. at ¶ 664.
   81Luigino Bracci Roa, Situación en Venezuela, Nueva rueda de prensa del Fiscal Tarek
   William Saab Sobre Muerte de Fernando Albán, YouTube (Oct. 10, 2018) (New press
   conference by Prosecutor Tarek William Saab on the Death of Fernando Albán), available
   at https://www.youtube.com/watch?v=5TsGLC3n88Q.

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   Enterprise’s phony narrative that Mr. Albán had killed himself. Specifically,

   on Cabello’s show “Con el Mazo Dando,” he told the audience that, “It is very

   sad that the opposition continues doing politics with death and doesn’t even

   respect a person’s decision to end their own life.” 82

          184. Around the same time, various publications affiliated with the

   Maduro Regime began publishing articles on the internet falsely claiming that

   the Regime had found child pornography on Mr. Alban’s phone, asserting that

   an “psychological evaluation” was performed while Mr. Albán was in custody,

   and untruthfully asserting that the “evaluation” had revealed that Mr. Albán

   had “fanatic religious beliefs,” and thus his “suicide” was a “self-immolation.” 83

          185. On October 31, 2018, a journalist asked Attorney General Tarek

   William Saab during a television interview whether Mr. Alban had been

   handcuffed at the time of his death.              Saab responded that there was no

   indication that Mr. Albán had been handcuffed when he died. AG Saab’s

   response may have been designed to support the Maduro Regime’s spurious

   suicide narrative, i.e., Mr. Albán was said to have been unshackled because a




   82 Luigino Bracci Roa, Situación en Venezuela, Lo que Dijo Diosdado Cabello Sobre la
   Muerte del Concejal Fernando Albán, YouTube (Oct. 10, 2018, minute 1:49) (What Diosdado
   Cabello Said About the Death of Councilor Fernando Albán), available at
   https://www.youtube.com/watch?v=pMJd-VHJZF4.
   83 See Controversial Scenario Behind the Profile of Councilor Albán, VTActual Venezuela

   (Oct. 9, 2018), https://www.vtactual.com/controversial-escenario-tras-el-perfil-del-concejal-
   alban/.

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   shackled prisoner would have had little chance of escaping his SEBIN guards

   to leap from a window.

          186. But Saab’s story that Mr. Albán was not handcuffed while he was

   alive defies credulity. According to two SEBIN officers, Mr. Alban’s “hands

   were cuffed in front of him when he requested bathroom access.” 84 And former

   political prisoners detained and tortured at SEBIN headquarters have

   explained that all prisoners are always handcuffed, and always accompanied

   by SEBIN agents—even when they go to the bathroom. 85

          187. This is not the only part of AG Saab’s attempted obfuscation to

   crumble under scrutiny. AG Saab maintained that security cameras footage

   from the tenth floor of the SEBIN HQ building did not exist. 86 But the U.N.

   Fact Finding Mission was “informed that the Information Technology System




   84UNHRC Detailed Findings Report, supra n. 1, at ¶ 661.
   85    Rosmit Mantilla (@RosmitMantilla), Twitter (Oct. 8, 2018 7:21 PM),
   https://twitter.com/rosmitm/status/1049439670931808256; see also Vanessa Moreno Losada,
   Cuando eres un preso político, nunca te dejan solo’, afirman ex detenidos del Sebin,” Efecto
   Cocuyo (Oct. 9, 2018), available at https://efectococuyo.com/sucesos/cuando-eres-un-preso-
   politico-nunca-te-dejan-solo-afirman-exdetenidos-del-sebin/ (“When you are a political
   prisoner, they never leave you alone, say former SEBIN detainees”); Fernando Penalver,
   Diputado Venezolano Responsabilizó a Nicolás Maduro por ‘Suicidio’ del Concejal Fernando
   Albán,” Metro World News (Oct. 8, 2018) (Venezuelan Deputy Blamed Nicolás Maduro for
   ‘Suicide’        of      Councilor        Fernando         Albán),       available        at
   https://www.publimetro.cl/cl/noticias/2018/10/08/diputado-venezolano-responsabilizo-a-
   nicolas-maduro-por-suicidio-del-concejal-fernando-alban.html.
   86 See Vladamir a la Unu, Fiscal General: Albán Murió Tras el Impacto, sin Evidencias de

   Tortura (2/6) (Globovision televisión braodcast Nov. 1, 2018, at minute 2:14) (denying the
   existence of video footage from the tenth floor of SEBIN HQ), available at
   https://www.youtube.com/watch?v=RBNGy8lv64k.

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   Analysis Division of the Public Prosecutor’s Office collected and stored

   footage.” 87

            188. Likely recognizing that the Maduro Regime’s cover-up was

   implausible, AG Saab capped off his October 31, 2018 remarks with an

   ominous threat: “anyone claiming that Mr. Alban did not commit suicide would

   be committing a felony.” 88

            189. Despite the Maduro Regime’s flimsy cover-up, the evidence

   (including much that was obtained through backchannels by Mr. Alban’s legal

   team in Venezuela) makes clear beyond doubt that Mr. Albán was murdered

   inside of the SEBIN HQ building. Among other things:

                   a.     A firefighter (only identified as “Alexander,” for fear of

   reprisals by the Maduro Regime) who retrieved Mr. Albán’s corpse from where

   it landed testified in an interview (by Maduro Regime agents) that even before

   anyone had accessed the body, SEBIN agents told him that Mr. Albán was

   already dead.

                   b.     The Maduro Regime agents also asked Alexander about the

   “condition of the cadaver” before anyone had confirmed that Mr. Alban was

   indeed dead.




   87   UNHRC Detailed Findings Report, supra n. 1, at ¶ 653.
   88   UNHRC Detailed Findings Report, supra n. 1, at ¶ 653.

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                 c.     As noted above, no handcuffs were recovered from Mr.

   Albán’s corpse, 89 despite SEBIN policy of keeping all (living) prisoners in

   restraints.

                 d.     Mr. Albán’s corpse was also recovered without shoes. This

   is all but impossible to reconcile with the Maduro Regime’s version of events,

   in which Mr. Albán slipped his guards while waiting to be transported to court,

   ran to the window, and threw himself out—a sequence that would not have

   allowed him time to remove his shoes.

                 e.     When Mr. Albán’s lifeless body was recovered, it had blood

   only on the ears and nose—nowhere else. Moreover, there was no blood on his

   clothes, or even on the subway grate on which his corpse had crashed. If Mr.

   Albán had died from his fall, the area would have been bathed in

   blood. Doubling down on the cover-up, the case file does not show a photograph

   of Mr. Albán’s body where it landed, but rather shows the body placed on a

   stretcher.

                 f.     Mr. Albán’s body did not have the broken bones that would

   be associated with a living person plummeting to his death. His arms were not

   broken, and on his legs, only the left femur had a fracture.




   89 Images of Mr. Alban’s body are on file with the U.N. Fact Finding Mission, planimetric
   lifting No. 1378 and 1378 b, Technical Inspection No. 2.219 File: K-18-0017-00631 Chart
   No. 31, 8 October 2018.

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          190. The evidence further confirms that SEBIN tortured Mr. Albán.

   They either (a) tortured him to death or (b) tortured him first and murdered

   him second.

                 a.     To begin, the fact that (as set forth above) Mr. Albán was

   murdered while in SEBIN custody, before his body was thrown from building,

   is consistent with his having been tortured, and with SEBIN mutilating the

   corpse by flinging it from the building in an effort to cover up the injuries they

   caused while Mr. Albán was still living.

                 b.     In addition, the fact that Mr. Albán’s corpse was not wearing

   shoes is consistent with the SEBIN’s practice of removing the shoes of

   prisoners when subjecting them to electronic shock torture, so that their feet

   can be placed in water, which has a tenfold multiplying effect on electronic

   shocks. Moreover, burns marks of the type associated with electronic shock

   torture were observed on Mr. Albán’s body.

                 c.     The photographs of Mr. Albán’s body show bruises consistent

   with SEBIN having beaten him while he was alive. 90

          191. The New Yorker has reported on Mr. Albán’s death, stating that

   “[t]he official explanation was suicide, but rumors persisted that agents had


   90See Miami NGO sends Bachelet evidence of torture to councilor Albán, Nueva Prensa
   Digital (July, 23, 2019, available at https://soynuevaprensadigital.com/npd/ong-de-miami-
   envia-a-bachelet-pruebas-de-torturas-a-concejal-alban/ (explaining that the Miami based
   NGO Venezuela Awareness has “a photographic series of Albán's lifeless body that shows
   that on October 8, 2018 he was the victim of brutal torture, which it caused his death.”).

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   drowned him in ‘the bathtub,’ a local equivalent of waterboarding, and then

   thrown his body out a window. 91

         192. On February 7, 2019, the Venezuelan Communications Minister,

   Jorge Rodríguez Gómez, held a press conference in which he accused Mr. Albán

   of participating in conspiracy acts. In the same speech, Mr. Rodríguez Gómez

   falsely claimed that Ms. Albán Osio—who is not even a politician, let alone a

   revolutionary—was linked to a lieutenant colonel who has been accused of

   involvement in the purported drone attack of August 4, 2018. 92

             I. The Maduro Regime closed ranks to protect the SEBIN
                officers who murdered Mr. Albán.

         193. The Maduro Regime took steps to protect its agents who tortured

   and murdered Mr. Albán.

         194. To begin, the Maduro Regime assigned Farik Karin Mora Salcedo

   and Dinora Bustamante Puerta—the same prosecutors handling the

   prosecution for the supposed drone attack on Maduro that Mr. Albán was

   supposedly being investigated for committing—to oversee the “investigation”

   in Mr. Albán’s death.



   91 See John Lee Anderson, Our Man in Caracas, The New Yorker, 2019 WLNR 18154825
   (June 10, 2019); see also John Lee Anderson, Venezuela’s Two Presidents Collide, The New
   Yorker (June 3, 2019), available at
   https://www.newyorker.com/magazine/2019/06/10/venezuelas-two-presidents-collide.
   92 Luigino Bracci Roa, Jorge Rodríguez, Rueda de Prensa Sobre Sucesos en Frontera

   Venezuela-Colombia, YouTube (Feb. 24, 2019), at
   https://www.youtube.com/watch?v=ZeNLBSxozGA&feature=youtu.be.

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          195. Both of these prosecutors were recently sanctioned by the Council

   of the European Union for, among other things: “initiating politically

   motivated prosecutions and creating obstacles to a political and democratic

   solution to the crisis in Venezuela, as well as serious violations of human rights

   and restrictions of fundamental freedoms, such as freedom of press and

   speech.” 93

          196. In Mr. Albán’s case, these prosecutors subverted the justice system

   to ensure that the SEBIN agents who tortured and murdered Mr. Albán would

   receive only the proverbial “slap on the wrist”: the prosecutors charged the

   SEBIN agents with only a minor offense (“breach of custodial obligations”) and

   may not even have convicted the SEBIN agents of that.                             Because the

   prosecutors kept the proceedings secret, excluding Albán’s family and

   international observers, it is entirely possible that the SEBIN murderers did

   not even get a “slap on the wrist.”

              J. The Maduro Criminal Enterprise stole Mr. Albán and Ms.
                 Albán Osio’s property, destroyed their business and
                 raided their home.

          197. Pursuant to the same course of conduct through with the Maduro

   Regime kidnapped, tortured and murdered Mr. Albán, the Maduro Regime also



   93 See Press Release, Nat’l Assembly, Bolivarian Republic of Venezuela, European Union
   Sanctions 11 Senior Officials Linked to Nicolas Maduro’s Dictatorship (June 29, 2020), available
   at https://presidenciave.com/international/european-union-sanctions-11-senior-officials-
   linked-to-nicolas-maduros-dictatorship/.

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   stole Mr. Albán and Ms. Albán Osio’s marital property, including but not

   limited to: (1) the luggage that Mr. Albán brought with him to Venezuela

   (three suitcases including toiletries, food, gifts, and electrical and mechanical

   educational kits), (2) the cell phone, watch, cash, keys, passport and much of

   the clothing Mr. Albán was wearing when he was kidnapped at Simón Bolivar

   International Airport.

         198. In October and November 2018, Maduro Regime agents raided

   Audi-Con’s offices multiple times and stole all of their computers and

   equipment. As a result, the business was unable to continue operations and

   had to close. To date, the Maduro Regime has not returned any of the

   computers or other equipment they misappropriated from Plaintiff’s business.

         199. On March 1, 2019, Maduro regime agents also raided Ms. Albán

   Osio’s home. They wore military uniforms, carried assault rifles, and had their

   faces covered with ski masks. They terrified all the neighbors, and blocked all

   access to the entire area while they conducted the raid. This type of military-

   type raid is very uncommon, and was clearly meant to frighten Ms. Albán Osio

   and her family. The agents stole a mobile phone that was there when they

   arrived.

         200. In addition, Ms. Albán Osio incurred legal expenses as the result

   of the entire ordeal, e.g., for legal work in connection with her lawyers’



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   attempts to secure the release of her husband, and later, to secure the release

   of her husband’s body.

                                   COUNT I
       Violation of the Florida Anti-Terrorism Act, Fla. Stat. § 772.13
                   (All Plaintiffs Against All Defendants)

         201. Plaintiffs incorporate by reference all the preceding paragraphs of

   this Complaint as if fully set forth herein.

         202. Florida Statute Section 772.13 provides in relevant part:

               A person who is injured by an act of terrorism as defined in
               § 775.30 or a violation of a law for which the penalty is
               increased pursuant to § 775.31 for facilitating or furthering
               terrorism has a cause of action for threefold the actual
               damages sustained and, in any such action, is entitled to . . .
               reasonable attorney fees and court costs in the trial and
               appellate courts.

         203. Plaintiffs (a) Ms. Albán Osio in her personal capacity and in her

   capacity as the personal representative and executor of the Estate of Fernando

   Albán, (b) Maria Fernanda Albán Osio, and (c) Fernando Albán Osio are

   “persons.” See Fla. Stat. § 1.01(3) (defining “person” to include “individuals,

   children, firms, associations, joint adventures, partnerships, estates, trusts,

   business trusts, syndicates, fiduciaries, corporations, and all other groups or

   combinations.”).

         204. An “act of terrorism” is “[a] violent act or an act dangerous to

   human life which is a violation of the criminal laws of this state or of the United

   States,” that “[i]s intended to: 1. [i]ntimidate, injure, or coerce a civilian

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   population; 2. [i]nfluence the policy of a government by intimidation or

   coercion; or 3. [a]ffect the conduct of government through destruction of

   property, assassination, murder, kidnapping, or aircraft piracy.”

         205. The kidnapping of Mr. Albán from Simón Bolivar International

   Airport in Caracas was an act of terrorism.

               a.    The kidnapping of Mr. Albán from Simón Bolivar

   International Airport in Caracas was an act dangerous to human life.

               b.    The kidnapping of Mr. Albán from Simón Bolivar

   International Airport in Caracas was in violation of United States law because

   it occurred pursuant to, and in furtherance of, a narco-terrorism conspiracy

   designed to flood the United States with cocaine and to launder the proceeds

   through the United States.

               c.    The kidnapping of Mr. Albán from Simón Bolivar

   International Airport in Caracas was in violation of Florida law because it

   occurred pursuant to, and in furtherance of, a narco-terrorism conspiracy

   designed to flood Florida with cocaine and to launder the proceeds through the

   Florida, and acts in furtherance of the conspiracy occurred in Florida. See Fla.

   Stat. § 910.005 (State Criminal Jurisdiction) (“A person is subject to

   prosecution in this state for an offense that she or he commits, while either

   within or outside the state, by her or his own conduct or that of another for

   which the person is legally accountable, if . . . The conduct outside the state

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   constitutes a conspiracy to commit an offense within the state, and an act in

   furtherance of the conspiracy occurs in the state.”).

               d.     The kidnapping of Mr. Albán from Simón Bolivar

   International Airport in Caracas was in violation of United States law,

   specifically, 18 U.S.C. § 37, which makes it a crime to unlawfully and

   intentionally, using any device, substance, or weapon—perform an act of

   violence against a person at an airport serving international civil aviation that

   causes or is likely to cause serious bodily injury . . . if such an act endangers or

   is likely to endanger safety at that airport.” Mr. Albán’s kidnapping was

   unlawful because the Maduro Criminal Enterprise intended it to silence

   dissent and protect the Maduro regime, and because the kidnapping was

   committed in retaliation for Mr. Albán’s lawful speech in the United States.

   Mr. Albán’s kidnapping was intentional, and made use of weapons including

   firearms and devices including handcuffs. Kidnapping is a crime of violence

   that is likely to result in serious bodily injury, and in this instance, the

   kidnapping endangered, or was likely to endanger, the safety of Mr. Albán and

   others at the airport.

               e.     The kidnapping of Mr. Albán from Simón Bolivar

   International Airport in Caracas was intended to “[i]ntimidate, injure, or

   coerce a civilian population,” and in fact was part of a pattern of human rights

   abuses the by the Maduro Criminal Enterprise designed to suppress civilian

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   opposition to the Maduro Criminal Enterprise’s acts of public corruption and

   authoritarian control of Venezuela.

                f.   The kidnapping of Mr. Albán from Simón Bolivar

   International Airport in Caracas was intended to “[i]ntimidate, injure, or

   coerce a civilian population,” and in fact was part of a pattern of human rights

   abuses the by the Maduro Criminal Enterprise designed to suppress civilian

   opposition to the Maduro Criminal Enterprise’s acts of public corruption and

   authoritarian control of Venezuela.

                g.   The kidnapping of Mr. Albán from Simón Bolivar

   International Airport in Caracas was intended to “[i]nfluence the policy of a

   government by intimidation or coercion,” and in fact was part of a pattern of

   human rights abuses by the Maduro Criminal Enterprise designed influence

   to policies of:

                     (i)   The legitimate government in Venezuela, including

   Mr. Albán, who was a member of the Justice First opposition party, an elected

   municipal leader, and a friend of leading opposition politicians including the

   co-founders of the Justice First party.    Among other things, the Maduro

   Criminal Enterprise sought to cause the legitimate government in Venezuela

   to abandon and yield its lawful governmental authority to the Maduro

   Criminal Enterprise.



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                        (ii)   The government of the United States, which Maduro

   wished to punish and humiliate for hosting, promoting and recognizing the

   legitimacy of opposition politicians, providing a platform for their criticisms of

   the Maduro Regime, and imposing sanctions on the Maduro Regime.

                h.      The kidnapping of Mr. Albán from Simón Bolivar

   International Airport in Caracas was intended to “[a]ffect the conduct of

   government        through   destruction   of   property,   assassination,   murder,

   kidnapping, or aircraft piracy,” in fact was part of a pattern of kidnapping and

   murder the by the Maduro Criminal Enterprise designed influence:

                        (i)    The legitimate government in Venezuela, including

   Mr. Albán, who was a member of the Justice First opposition party, an elected

   municipal leader, and a friend of leading opposition politicians including the

   co-founders of the Justice First party.        Among other things, the Maduro

   Criminal Enterprise sought to cause the legitimate government in Venezuela

   to abandon and yield its lawful governmental authority to the Maduro

   Criminal Enterprise.

                        (ii)   The government of the United States, which Maduro

   wished to punish and humiliate for hosting, promoting and recognizing the

   legitimacy of opposition politicians, providing a platform for their criticisms of

   the Maduro Regime, and imposing sanctions on the Maduro Regime.



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         206. The torture of Mr. Albán at SEBIN headquarters in Caracas was

   an act of terrorism.

                a.    The torture of Mr. Albán at SEBIN headquarters in Caracas

   was an act dangerous to human life.

                b.    The torture of Mr. Albán at SEBIN headquarters in Caracas

   was in violation of United States law because it occurred pursuant to, and in

   furtherance of, a narco-terrorism conspiracy designed to flood the United

   States with cocaine and to launder the proceeds through the United States.

                c.    The torture of Mr. Albán at SEBIN headquarters in Caracas

   was in violation of Florida law because it occurred pursuant to, and in

   furtherance of, a narco-terrorism conspiracy designed to flood Florida with

   cocaine and to launder the proceeds through the Florida, and acts in

   furtherance of the conspiracy, including trafficking and sales of cocaine and

   transfers of ill-gotten gains occurred in Florida. See Fla. Stat. § 910.005 (State

   Criminal Jurisdiction) (“A person is subject to prosecution in this state for an

   offense that she or he commits, while either within or outside the state, by her

   or his own conduct or that of another for which the person is legally

   accountable, if . . . The conduct outside the state constitutes a conspiracy to

   commit an offense within the state, and an act in furtherance of the conspiracy

   occurs in the state.”).



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               d.    The torture of Mr. Albán at SEBIN headquarters in Caracas

   was intended to “[i]ntimidate, injure, or coerce a civilian population,” and in

   fact was part of a pattern of human rights abuses the by the Maduro Criminal

   Enterprise designed to suppress civilian opposition to the Maduro Criminal

   Enterprise’s acts of public corruption and authoritarian control of Venezuela.

               e.    The torture of Mr. Albán at SEBIN headquarters in Caracas

   was intended to “[i]ntimidate, injure, or coerce a civilian population,” and in

   fact was part of a pattern of human rights abuses by the Maduro Criminal

   Enterprise designed to suppress civilian opposition to the Maduro Criminal

   Enterprise’s acts of public corruption and authoritarian control of Venezuela.

               f.    The torture of Mr. Albán at SEBIN headquarters in Caracas

   was intended to “[i]nfluence the policy of a government by intimidation or

   coercion,” and in fact was part of a pattern of human rights abuses the by the

   Maduro Criminal Enterprise designed to influence the policies of:

               g.    (i)   The legitimate government in Venezuela, including

   Mr. Albán, who was a member of the Justice First opposition party, an elected

   municipal leader, and a friend of leading opposition politicians including the

   co-founders of the Justice First party.    Among other things, the Maduro

   Criminal Enterprise sought to cause the legitimate government in Venezuela

   to abandon and yield its lawful governmental authority to the Maduro

   Criminal Enterprise.

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                      (ii)   The government of the United States, which Maduro

   wished to punish and humiliate for hosting, promoting and recognizing the

   legitimacy of opposition politicians, providing a platform for their criticisms of

   the Maduro Regime, and imposing sanctions on the Maduro Regime.

         207. The murder of Mr. Albán at SEBIN headquarters in Caracas was

   an act of terrorism.

                a.    The murder of Mr. Albán at SEBIN headquarters in Caracas

   was an act dangerous to human life.

                b.    The murder of Mr. Albán at SEBIN headquarters in Caracas

   was in violation of United States law because it occurred pursuant to, and in

   furtherance of, a narco-terrorism conspiracy designed to flood the United

   States with cocaine and to launder the proceeds through the United States.

                c.    The murder of Mr. Albán at SEBIN headquarters in Caracas

   was in violation of Florida law because it occurred pursuant to, and in

   furtherance of, a narco-terrorism conspiracy designed to flood Florida with

   cocaine and to launder the proceeds through Florida, and acts in furtherance

   of the conspiracy, including sales and trafficking of cocaine, occurred in

   Florida. See Fla. Stat. § 910.005 (State Criminal Jurisdiction) (“A person is

   subject to prosecution in this state for an offense that she or he commits, while

   either within or outside the state, by her or his own conduct or that of another

   for which the person is legally accountable, if . . . [t]he conduct outside the state

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   constitutes a conspiracy to commit an offense within the state, and an act in

   furtherance of the conspiracy occurs in the state.”).

               d.    The murder of Mr. Albán at SEBIN headquarters in Caracas

   was intended to “[i]ntimidate, injure, or coerce a civilian population,” and in

   fact was part of a pattern of human rights abuses by the Maduro Criminal

   Enterprise designed to suppress civilian opposition to the Maduro Criminal

   Enterprise’s acts of public corruption and authoritarian control of Venezuela.

               e.    The murder of Mr. Albán at SEBIN headquarters in Caracas

   was intended to “[i]ntimidate, injure, or coerce a civilian population,” and in

   fact was part of a pattern of human rights abuses by the Maduro Criminal

   Enterprise designed to suppress civilian opposition to the Maduro Criminal

   Enterprise’s acts of public corruption and authoritarian control of Venezuela.

               f.    The murder of Mr. Albán at SEBIN headquarters in Caracas

   was intended to “[i]nfluence the policy of a government by intimidation or

   coercion,” and in fact was part of a pattern of human rights abuses by the

   Maduro Criminal Enterprise designed influence to policies of:

               g.    (i)   The legitimate government in Venezuela, including

   Mr. Albán, who was a member of the Justice First opposition party, an elected

   municipal leader, and a friend of leading opposition politicians including the

   co-founders of the Justice First party.     Among other things, the Maduro

   Criminal Enterprise sought to cause the legitimate government in Venezuela

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   to abandon and yield its lawful governmental authority to the Maduro

   Criminal Enterprise.

                      (ii)   The government of the United States, which Maduro

   wished to punish and humiliate for hosting, promoting and recognizing the

   legitimacy of opposition politicians, providing a platform for their criticisms of

   the Maduro Regime, and imposing sanctions on the Maduro Regime.

         a.    The murder of Mr. Albán at SEBIN headquarters in Caracas was

   intended to “[a]ffect the conduct of government through destruction of

   property, assassination, murder, kidnapping, or aircraft piracy,” in fact was

   part of a pattern of kidnapping and murder by the Maduro Criminal Enterprise

   designed influence to policies of:

                      (i)    The legitimate government in Venezuela, including

   Mr. Albán, who was a member of the Justice First opposition party, an elected

   municipal leader, and a friend of leading opposition politicians including the

   co-founders of the Justice First party.      Among other things, the Maduro

   Criminal Enterprise sought to cause the legitimate government in Venezuela

   to abandon and yield its lawful governmental authority to the Maduro

   Criminal Enterprise.

                      (ii)   The government of the United States, which Maduro

   wished to punish and humiliate for hosting, promoting, and recognizing the



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   legitimacy of opposition politicians, providing a platform for their criticisms of

   the Maduro Regime, and imposing sanctions on the Maduro Regime.

         208. The Defendants and/or their agents stalked, kidnapped, tortured

   and murdered Mr. Albán.

         209. Plaintiff Meudy Osio was injured by the acts of terrorism set forth

   above. She suffered loss of solatium, loss of consortium, mental anguish, past

   and future emotional pain and suffering, loss of society, companionship,

   comfort, protection, marital care, attention, advice and, counsel. She also

   suffered loss of household services and loss of income.

         210. Plaintiff Maria Fernanda Alban Osio was injured by the acts of

   terrorism set forth above. She suffered loss of solatium, loss of consortium,

   mental anguish, past and future emotional pain and suffering, loss of society,

   companionship, comfort, protection, parental care, attention, advice, counsel.

   She also suffered loss of household services and loss of income.

         211. Plaintiff Fernando Albán Osio was injured by the acts of terrorism

   set forth above.   He suffered loss of solatium, loss of consortium, mental

   anguish, past and future emotional pain and suffering, loss of society,

   companionship, comfort, protection, parental care, attention, advice, counsel.

   He also suffered loss of household services and loss of income.




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            212. Plaintiff Estate of Albán was injured by the acts of terrorism set

   forth above. Mr. Albán (and his estate) suffered physical and mental pain and

   anguish, death, and loss of wages.

            213. Plaintiffs seek an award of compensatory damages (including

   treble damages) for the foregoing injuries, plus reasonable attorneys’ fees and

   costs.

                                 COUNT II
                  Wrongful Death, Fla. Stat. § 768.16 et seq.
    (By Plaintiff Meudy, in her capacity as the personal representative
             for the Estate of Albán, Against All Defendants)

            214. Plaintiffs incorporate by reference all the preceding paragraphs of

   this Complaint as if fully set forth herein.

            215. The death of Mr. Albán was caused by the Defendants wrongful

   acts, including but not limited to a criminal conspiracy to murder Mr. Albán

   and a criminal conspiracy to traffic narcotics that was furthered by the murder

   of Mr. Albán. The events that led to Mr. Albán’s death would have entitled Mr.

   Albán to sue in his own name if he had survived.

            216. The Maduro Regime caused Mr. Albán’s death deliberately, with

   the specific intent to harm Mr. Albán.

            217. The potential beneficiaries of a recovery in wrongful death include

   Plaintiff Meudy (spouse of the deceased), Fernando (son of the deceased) and

   Maria (daughter of the deceased), and the Estate of Albán.


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         218. As a proximate result of Defendants actions, Plaintiff Meudy, in

   her personal capacity, has suffered:

               a. lost support and services;

               b. loss of the decedent’s companionship and protection;

               c. mental pain and suffering, and;

               d. funeral expenses.

         219. As a proximate result of Defendants actions, Plaintiffs Fernando

   and Maria have has suffered:

               a. lost support and services;

               b. loss of the decedent’s parental companionship, instruction, and

                  guidance, and;

               c. mental pain and suffering.

         220. As a proximate result of Defendants actions, Plaintiff Meudy, in

   her capacity as the personal representative for the Estate of Albán, has

   suffered:

               a. Loss of earnings

               b. Loss of the prospective net accumulations of an estate

         221. Plaintiffs seek an award of compensatory damages for the

   foregoing injuries, the imposition of punitive damages sufficient to deter

   Defendants from committing such unlawful conduct in the future, and

   reasonable attorneys’ fees and costs.

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                                 COUNT III
                   Federal Civil RICO, 18 U.S.C. § 1964(c)
    (By Plaintiff Meudy Against Maduro and the Individual Defendants)

         222. Plaintiffs incorporate by reference all the preceding paragraphs of

   this Complaint as if fully set forth herein.

         223. 18 U.S.C. § 1962(c) makes it “unlawful for any person employed by

   or associated with any enterprise engaged in, or the activities of which affect,

   interstate or foreign commerce, to conduct or participate, directly or indirectly,

   in the conduct of such enterprise’s affairs through a pattern of racketeering

   activity . . . ” 18 U.S.C. § 1962(c).

         224. Persons. Each Defendant is a “person” capable of holding legal or

   beneficial interest in property within the meaning of 18 U.S.C. § 1961(3).

         225. The Enterprise. The FARC, the Cartel of the Suns, and the

   Maduro Regime form an association in fact for the common and continuing

   purpose described here, i.e., for purpose of exerting unlawful authoritarian

   control over Venezuela, furthering the Maduro Criminal Conspiracy and

   engaging in (a) narcotics trafficking; (b) acts of terrorism including but by no

   means limited to narco-terrorism; (c) human rights violations including

   kidnapping, torture, and murder; (d) public corruption offenses; and (e) money

   laundering.    The Maduro Criminal Enterprise constitutes an “enterprise”

   within the meaning of 18 U.S.C. § 1961(4) engaged in the conduct of their

   affairs through a continuing pattern of racketeering activity. The members of

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   the enterprise functioned as continuing unit with an ascertainable structure

   separate and distinct from that of the conduct of the pattern of racketeering

   activity.    The Maduro Criminal Enterprise is the poster child for what

   Congress had in mind when it created a civil RICO remedy: a well-organized,

   long standing, hierarchical crime syndicate engaged in myriad violent criminal

   endeavors.

         226. In the alternative FARC, the Cartel of Suns, and Maduro Regime

   each constitute a separate enterprise within the meaning of 18 U.S.C. § 1961(4)

   (the “Alternative Enterprises”).

         227. Interstate and Foreign Commerce.             The Maduro Criminal

   Enterprise and the Alternative Enterprises have engaged in, and their

   activities have affected, interstate and foreign commerce.

         228. Pattern of Racketeering Activity. Defendants, each of whom

   are persons associated with, or employed by, the Maduro Criminal Enterprise

   and/or the Alternative Enterprises, did knowingly, willfully and unlawfully

   conduct or participate, directly or indirectly, in the affairs of the enterprise

   through a pattern of racketeering activity within the meaning of 18 U.S.C. §§

   1961(1), 1961(5), and l962(c). The racketeering activity was made possible by

   Defendants’ regular and repeated use of the facilities and services of the

   enterprise. Defendants had the specific intent to engage in the substantive

   RICO violation alleged herein.

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         229. Defendants each committed at least two predicate acts of

   racketeering activity that are indictable under provisions of the U.S. Code

   enumerated in 18 U.S.C. § 1961(1), as more specifically alleged below.

         230. The acts of racketeering were not isolated, but rather the acts of

   Defendants were related in that they had the same or similar purpose and

   result, participants, victims and method of commission. Further, the acts of

   racketeering by Defendants have been continuous. There was repeated conduct

   during a period of time beginning in 2013 (when Maduro became President of

   Venezuela following the death of Hugo Chavez), if not sooner, and continuing

   to the present. Moreover, there is a continued threat of repetition of such

   conduct.

         231. Plaintiffs specifically allege that Defendants participated in the

   operation and management of the Maduro Criminal Enterprise and the

   Alternative Enterprises by overseeing and coordinating the commission of

   multiple acts of racketeering as described below.

         232. Predicate: Conspiracy to commit narco-terrorism. RICO

   predicates include “any offense involving . . . the felonious manufacture,

   importation, receiving, concealment, buying, selling, or otherwise dealing in a

   controlled substance.” See 18 U.S.C. § 1961. Defendant Maduro committed

   acts indictable for an offenses “involving the felonious manufacture,

   importation, receiving, concealment, buying, selling, or otherwise dealing in a

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   controlled substance,” and in fact has been indicted for a narco-terrorism

   conspiracy beginning in 1999 and continuing through today, in violation of 21

   U.S.C. § 960a, the object of which was to violate 21 U.S.C. § 841(a) (distribution

   of five kilograms or more of cocaine), “knowing and intending to provide,

   directly and indirectly, something of pecuniary value to a person and

   organization that has engaged and engages in terrorism and terrorist activity,

   to wit, the FARC.”       Maduro committed this offense in conspiracy with

   Individual Defendants.

         233. Predicate: Cocaine importation conspiracy. RICO predicates

   include “any offense involving . . .” the felonious manufacture, importation,

   receiving, concealment, buying, selling, or otherwise dealing in a controlled

   substance.”   See 18 U.S.C. § 1961.         Defendant Maduro committed acts

   indictable for an offenses “involving the felonious manufacture, importation,

   receiving, concealment, buying, selling, or otherwise dealing in a controlled

   substance,” and in fact has been indicted for a cocaine importation conspiracy

   that began in 1999 and continues through today, including importing cocaine

   into the United States from abroad in violation of 21 U.S.C. § 952(a) and 21

   U.S.C. § 960(a)(1), and including manufacturing, distributing and possessing

   with intent distribute cocaine knowing, and having reasonable cause to believe

   that the cocaine would be unlawfully imported in the United States, in

   violation of 21 U.SC. § 959(a) and 21 U.S.C. § 960(a)(3), and possessing cocaine

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   with intent to distribute on board an aircraft registered in the United States

   in violation of 21 U.S.C. § 959(c) and 21 U.S.C. § 960(a)(3). Maduro committed

   this offense in conspiracy with the Individual Defendants.

         234. Predicate: Conspiracy to commit murder and kidnapping.

   RICO predicates include “any act or threat involving murder [or] kidnapping .

   . . which is chargeable under State law and punishable by imprisonment for

   more than one year.” See 18 U.S.C. § 1961. Conspiracy to commit murder and

   kidnapping are acts involving murder or kidnapping that are chargeable under

   State law (including the law of New York) and punishable by imprisonment of

   more than a year. The Defendants conspired to kidnap and murder Mr. Albán.

   That conspiracy is chargeable in New York conduct constituting an element of

   the offense occurred in New York. Specifically, overt acts in furtherance of the

   conspiracy occurred in New York, in that agents of Maduro Criminal

   Enterprise followed and surveilled Mr. Albán in New York, and, on information

   and belief, they did so pursuant to the conspiracy to kidnap and murder Mr.

   Albán and communicated information concerning Mr. Albán to the Defendants

   with the intent to facilitate the kidnapping and murder of Mr. Albán. Maduro

   and the Individual Defendants were all members of the conspiracy to kidnap

   and murder Mr. Albán.

         235. Predicate: Use of interstate commerce in the commission

   of murder-for-hire. RICO predicate offences include violations of 18 U.S.C.

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   § 1958. See 18 U.S.C. § 1961. Section 1958 provides penalizes “[w]hoever

   travels in or causes another (including the intended victim) to travel in

   interstate or foreign commerce, or uses or causes another (including the

   intended victim) to use the mail or any facility of interstate or foreign

   commerce, with intent that a murder be committed in violation of the laws of

   any State or the United States as consideration for the receipt of, or as

   consideration for a promise or agreement to pay, anything of pecuniary

   value, or who conspires to do so.”    Mr. Albán’s murder was committed in

   violation of the laws of New York, as set forth above. Mr. Albán’s murder was

   a murder for hire, because members of the Maduro Criminal Enterprise who

   committed the murder received payment (in the form of salaries) from the

   Maduro Criminal Enterprise. On information and belief, Defendants used and

   caused others to use facilities of interstate commerce with the intent that the

   murder-for-hire of Mr. Albán occur, specifically, that Maduro Criminal

   Enterprise agents in New York communicated with the Defendants in

   Venezuela the information they had gathered by surveilling Mr. Albán in New

   York to facilitate his murder and kidnapping.

         236. Predicate:      Violence at international airports.           RICO

   predicates include “any act that is indictable under any provision listed in

   section 2332b(g)(5)(B).”   18 U.S.C. § 1961(1).      In turn, 18 U.S.C. §

   2332b(g)(5)(B) (“Act of Terrorism Transcending National Boundaries”)

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   includes violations of 18 U.S.C. § 37, which makes it a crime to unlawfully and

   intentionally, using any device, substance, or weapon—perform an act of

   violence against a person at an airport serving international civil aviation that

   causes or is likely to cause serious bodily injury . . . if such an act endangers or

   is likely to endanger safety at that airport.” Defendants committed acts

   indictable under 37 U.S.C. § 37, because they: (1) unlawfully and intentionally

   (i.e., without a warrant or legitimate basis, and intending to persecute Mr.

   Albán for his political views), using weapons (i.e., guns), performed an act of

   violence (i.e., the kidnapping of Mr. Albán) at an airport serving international

   civil aviation (i.e., Simón Bolivar International Airport) that causes or is likely

   to cause serious bodily injury (i.e., kidnapping, a crime of violence that is likely

   to cause the injury or death of the victim, which in fact occurred in the case of

   Mr. Albán) which act endangers or is likely to endanger the safety of the airport

   (i.e., an armed kidnapping of travelers upon arrival, which does, of course,

   endanger the safety of the airport).

         237. Predicate:       Theft from an Interstate Shipment.               RICO

   predicates include 18 U.S.C. § 659, which deems guilty of a felony “[w]hoever .

   . . steals, or unlawfully takes, carries away, or conceals . . . from any . . . from

   any aircraft, air cargo container, air terminal, airport, aircraft terminal or air

   navigation facility. . . with intent to convert to his own use any goods or chattels

   moving as or which are a part of or which constitute an interstate or foreign

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   shipment of freight, express, or other property” as well as “[w]hoever buys or

   receives or has in his possession any such goods or chattels, knowing the same

   to have been embezzled or stolen.” Section 659 prohibits unlawfully taking

   baggage from an airport, including baggage shipped internationally from the

   United States. Defendants committed acts indictable under 37 U.S.C. § 37,

   because they stole Mr. Albán’s luggage at Simón Bolivar International Airport

   before he received it.

         238. Predicate: Travel Act violations. Violations of the Travel Act,

   18 U.S.C. § 1952, are RICO predicate offenses. 18 U.S.C. § 659. Under the

   Travel Act, it is unlawful to use “any facility of interstate or foreign commerce”

   (which includes any “means of communication,” see 18 U.S.C. § 1958(b)(2)) to

   “promote, manage,        establish,   carry   on   or facilitate   the   promotion,

   management, establishment and carrying on, of any unlawful activity” or to

   “commit    any    crime     of   violence     to   further   unlawful     activity.”

   The Travel Act defines the term “unlawful activity” to include, among other

   things, “any business enterprise involving . . . narcotics or controlled

   substances.” Id. § 1952(b)(1). Here, Defendants committed offenses indictable

   under the Travel Act because they used a facility of interstate or foreign

   commerce (i.e., the communications devices by which they relayed intelligence

   on Mr. Albán gathered by Maduro Regime agents in New York to co-

   conspirators in Venezuela to facilitated Mr. Albán’s kidnapped at Simón

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   Bolivar International Airport) to promote, carry on or facilitated an unlawful

   activity (i.e., their narcotics trafficking business). The kidnapping and murder

   of opposition politicians such as Mr. Albán was integral to the Maduro Regime

   maintaining authoritarian control over Venezuela, which in turn was the

   backbone of the narcotics trafficking conspiracy.

         239. Continuity of Conduct.           Defendants’ violations of state and

   federal law as set forth herein, each of which directly and proximately injured

   Plaintiffs, constituted a continuous course of conduct spanning a period from

   at least 2013 to the present, which was intended to obtain money through

   narcoterrorism, narcotics trafficking, and other improper and unlawful means.

   Therefore, said violations were a part of a pattern of racketeering activity

   under 18 U.S.C. § 1961(l) and (5).

         240. Conduct of Affairs.          Defendants have conducted and/or

   participated, directly and/or indirectly, in the conduct of the affairs of the

   Maduro Criminal Enterprise and the Alternative Enterprises through a

   pattern of racketeering activity as alleged above in violation of 18 U.S.C. §

   1962(c).

         241. Proximate cause and damages to business and property.

   The unlawful actions of Defendants, and each of them, have directly, illegally,

   and proximately caused and continue to cause injuries to the Plaintiffs in their

   business or property. Plaintiff seeks an award of damages in compensation

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   for, among other things, the property that Defendants stole from Mr. Albán

   and Meudy (e.g., luggage, cell phone, other personal effects; computers and

   files from Mr. Albán and Meudy’s accounting business), the legal costs that

   Defendants imposed upon Meudy (e.g., legal costs associated with attempting

   to free Mr. Albán while he was alive, recover his body after he was deceased,

   and cause the Maduro Regime to investigate Mr. Albán’s death), and the

   business (Mr. Albán and Meudy’s accounting business) that the Maduro

   Regime destroyed.

            242. Plaintiffs seek an award of compensatory damages (including

   treble damages) for the foregoing injuries, plus reasonable attorneys’ fees and

   costs.

                                COUNT IV
        Conspiracy to Violate Federal Civil RICO, 18 U.S.C. § 1962(d)
        (By Meudy Against Maduro and the Individual Defendants)

            243. Plaintiffs incorporate by reference all the preceding paragraphs of

   this Complaint as if fully set forth herein.

            244. In violation of 18 U.S.C. § 1962(d), Maduro and the Individual

   Defendants, and each of them, knowingly, willfully, and unlawfully conspired

   to facilitate a scheme which included the operation or management of a RICO

   enterprise through a pattern of racketeering activity as alleged in paragraphs

   [insert] above.



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         245. The conspiracy commenced at least as early as 2013 and is

   ongoing.

         246. The conspiracy’s purpose is to exercise unlawful authoritarian

   control over Venezuela, further the Maduro Criminal Conspiracy, and engage

   in (a) narcotics trafficking; (b) acts of terrorism including but by no means

   limited to narco-terrorism; (c) human rights violations including kidnapping,

   torture, and murder; (d) public corruption offenses; and (e) money laundering.

         247. Each Defendant committed at least one overt act in furtherance of

   such conspiracy. These acts in furtherance of the conspiracy included

   kidnapping, torturing and murdering Mr. Albán, communicating in foreign

   and/or interstate commerce in support of the kidnapping, stealing Mr. Albán’s

   and Meudy’s property from international shipments and from the offices of

   their accounting business.

         248. Even if some of the Defendants did not agree to harm Plaintiff

   specifically, the purpose of the acts they engaged in was to advance the overall

   object of the conspiracy, and the harm to Plaintiff was in furtherance of the

   conspiracy.

         249. Plaintiff has been injured and continues to be injured in her

   business and property by Defendants' conspiracy in violation of 18 U.S.C. §

   1962(d). The unlawful actions of Defendants, and each of them, have directly,



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   illegally, and proximately caused and continue to cause injuries to Plaintiff in

   her business and property.

            250. Plaintiffs seek an award of compensatory damages (including

   treble damages) for the foregoing injuries, plus reasonable attorneys’ fees and

   costs.

                                  COUNT V
                             Defamation Per Se
       (By Ms. Albán Osio in her capacity as the Representative of the
    Estate of Albán Against Saab, Reverol and Maduro; Ms. Albán Osio in
                   her Personal Capacity Against Maduro)

            251. Plaintiffs incorporate by reference all the preceding paragraphs of

   this Complaint as if fully set forth herein.

            252. On October 8, 2018, Defendant Saab—acting as Maduro’s agent—

   published a false statement about Mr. Albán when he said on a VTItv

   broadcast that Fernando Alban “had committed suicide.”

            253. Defendant Saab’s false statement is defamation per se because it

   accuses Mr. Albán of an infamous crime (suicide) and such a falsehood tends

   to subject one to hatred, distrust, ridicule, contempt, or disgrace.

            254. Saab’s VTItv broadcast was published on VTItv’s official YouTube

   channel, where it remains through today.

            255. Saab’s false statement that Mr. Albán had committed suicide was

   viewed by persons in South Florida, including the Miami Herald, which



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   reported on Mr. Saab’s statement, and by numerous readers of the Miami

   Herald.

         256. Saab made the false statement that Mr. Albán had committed

   suicide, with the specific intent to harm Mr. Albán and his reputation. On

   information and belief, Mr. Saab wished to blame Mr. Albán’s for his own

   death, cover-up the Maduro regime’s murder of Mr. Albán, forestall an

   investigation into the murder of Mr. Albán, and tilt public sympathy against

   Mr. Albán.

         257. On October 8, 2018, Saab published a false statement about Mr.

   Albán when he indicated on a VTItv broadcast that Mr. Albán might have been

   responsible for “the attempted assassination of President Nicolás Maduro,”

   when in Mr. Albán had nothing to do with the drone explosion near President

   Maduro and, on information and belief, the drone explosions were a false flag

   attack orchestrated by the Maduro Regime to justify its oppression of its

   political opponents.

         258. Saab’s false statement is defamation per se because it accuses Mr.

   Albán of an infamous crime (attempted assassination) and such a falsehood

   tends to subject one to hatred, distrust, ridicule, contempt, or disgrace.

         259. Saab’s VTItv broadcast was published on VTItv’s official YouTube

   channel, where it remains through today.



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            260. The Maduro Regime’s accusation that Mr. Albán was involved in

   the alleged attempted assassination of Maduro was covered in the Miami

   Herald and thus was viewed by persons in Florida. 94

            261. Saab made the false statement that Mr. Albán was potentially

   responsible for an assassination attempt against Maduro with the specific

   intent to harm Mr. Albán and his reputation. On information and belief, Mr.

   Saab wished to blame Mr. Albán’s for his own death, cover-up the Maduro

   regime’s murder of Mr. Albán, forestall an investigation into the murder of Mr.

   Albán, and tilt public sympathy against Mr. Albán.

            262. On October 8, 2018, Defendant Reverol—acting for himself and as

   Maduro’s agent—published a false statement about Mr. Albán when he

   tweeted that “Mr. Alban had been in the waiting room at SEBIN Plaza

   Venezuela for transfer to court, when he threw himself out of a window falling

   to his death.”

            263. Defendant Reverol’s false statement is defamation per se because

   it accuses Mr. Albán of an infamous crime (suicide) and such a falsehood tends

   to subject one to hatred, distrust, ridicule, contempt, or disgrace.




   94   See Delgado, Was He Thrown, supra. n. 70.

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         264. On information and belief, Defendant Reverol’s tweet was viewed

   by persons in South Florida. CNN and other leading news sources reported on

   Defendant Reverol’s tweet. 95

         265. Defendant Reverol made the false statement that Mr. Albán had

   committed suicide with the specific intent to harm Mr. Albán and his

   reputation.    On information and belief, Mr. Reverol wished to blame Mr.

   Albán’s for his own death, cover-up the Maduro regime’s murder of Mr. Albán,

   forestall an investigation into the murder of Mr. Albán, and tilt public

   sympathy against Mr. Albán.

         266. In October or November 2018, the Maduro published a false

   statements about Mr. Albán when it said that the Maduro Regime had found

   child pornography on Mr. Albán’s phone when it arrested him (and that being

   caught with such pornography was one of the reasons for Mr. Albán’s supposed

   “suicide.”).

         267. The Maduro Regime’s false statement is defamation per se because

   it accuses Mr. Albán of an infamous crime (possession of child pornography)

   and such a falsehood tends to subject one to hatred, distrust, ridicule,

   contempt, or disgrace.




   95Mallory Gafas and Joshua Berlinger, Suspect in Maduro Assassination Plot Dies in
   Mysterious Fall from Window, CNN (Oct. 10, 2018), available at
   https://www.cnn.com/2018/10/09/americas/venezuela-assassination-plot-intl/index.html.

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         268. The Maduro Regime made the false statement that Mr. Albán had

   committed suicide with the specific intent to harm Mr. Albán and his

   reputation. On information and belief, the Maduro Regime wished to blame

   Mr. Albán’s for his own death, cover-up the Maduro Regime’s murder of Mr.

   Albán, forestall an investigation into the murder of Mr. Albán, and tilt public

   sympathy against Mr. Albán.

         269. On February 7, 2019, the Venezuelan Communications Minister,

   Jorge Rodríguez Gómez—acting as an agent for, and in conspiracy with

   Maduro—held a press conference in which he falsely accused Mr. Albán of

   participating in a conspiracy to assassinate Maduro. In the same speech, Mr.

   Rodríguez Gómez falsely claimed that Ms. Albán Osio—who is not even a

   politician, let alone a revolutionary—was linked to a lieutenant colonel who

   has been accused of involvement in the drone attack of August 4, 2018.

         270. The foregoing false statements by Communications Minister Jorge

   Rodríguez Gómez are defamation per se because they accuse Mr. Albán and

   Ms. Albán Osio of an infamous crime (conspiracy to commit murder) and such

   a falsehood tends to subject one to hatred, distrust, ridicule, contempt, or

   disgrace.

         271. Minister Jorge Rodríguez Gómez made the foregoing false

   statements with the intend, and for the express purpose, of injuring the

   reputation of Mr. Albán and Ms. Albán Osio.

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         272. On information and belief, the foregoing false statements were

   heard and/or viewed by members of the Venezuelan community and others

   living in South Florida (and others in Florida).

         273. Plaintiffs seek an award of compensatory damages for the

   foregoing injuries, the imposition of punitive damages sufficient to deter

   Defendants from committing such unlawful conduct in the future, and

   reasonable attorneys’ fees and costs.

                                    COUNT VI
                                   Conspiracy
                    (By All Plaintiff Against All Defendants)

         274. Plaintiffs incorporate by reference all the preceding paragraphs of

   this Complaint as if fully set forth herein.

         275. All of the Defendants agreed to the Maduro Criminal Conspiracy

   to perform unlawful acts including (a) narcotics trafficking; (b) acts of

   terrorism including but by no means limited to narco-terrorism; (c) human

   rights violations including kidnapping, torture, and murder; (d) public

   corruption offenses; and (e) money laundering.

         276. The kidnapping, torture and murder of Mr. Albán were overt acts

   in furtherance of that Maduro Criminal Conspiracy.

         277. The Maduro Regime’s defamation of Mr. Albán and Ms. Meudy

   Osio Albán were overt acts in furtherance of the Maduro Criminal Conspiracy.



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         278. Plaintiffs seek an award of compensatory damages for the

   foregoing injuries, the imposition of punitive damages sufficient to deter

   Defendants from committing such unlawful conduct in the future, and

   reasonable attorneys’ fees and costs.

                                 COUNT VII
                            False Imprisonment
       (By Ms. Albán Osio in her capacity as the Representative of the
                  Estate of Albán Against All Defendants)

         279. Plaintiffs incorporate by reference all the preceding paragraphs of

   this Complaint as if fully set forth herein.

         280. The Defendants, starting from when they kidnapped Mr. Albán at

   Simón Bolivar International Airport and continuing until they murder Mr.

   Albán, unlawfully and intentionally restrained Mr. Albán against his will and

   through unlawful use of force prevented him from leaving SEBIN custody.

         281. As a result of Defendants’ misconduct in falsely imprisoning Mr.

   Albán, Mr. Albán was harmed, in that he was unable to leave while Defendants

   subjected him to torture and murder. Defendants’ false imprisonment of Mr.

   Alban was both a but-for and proximate cause of Mr. Albán’s injuries.

                                    Count VIII
                  Intentional Infliction of Emotional Distress
                     (All Plaintiffs Against All Defendants)

         282. The Defendants’ conduct in torturing and murdering Mr. Alban

   was extreme and outrageous.


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         283. The Defendants’ conduct was intentionally designed to cause,

   indeed, to maximize, emotional distress to the Plaintiffs. This is evidenced by,

   among other things, (a) the fact that the Defendants had Mr. Albán speak with

   his wife while he was in SEBIN custody, compounding her worry, heartbreak

   and concern; (b) the fact that the Maduro Regime’s method of operation is to

   terrorize and intimidate opposition leaders; and (c) the fact that the Maduro

   regime followed up with additional conduct targeting Ms. Albán Osio and her

   children with further injury, such as the destruction of the family accounting

   business in Venezuela, making false and defamatory statements that Ms.

   Albán Osio was involved in a plot to assassinate Maduro.

         284. As a result of the Defendants’ conduct, Plaintiffs have suffered

   severe   emotional   distress,   including   feelings   of   depression,   anger,

   helplessness, and symptoms of post-traumatic stress disorder (“PTSD”), such

   as flashbacks, nightmares and severe anxiety, as well as uncontrollable

   thoughts about the event.

                        PRAYER FOR RELIEF
         WHEREFORE, Plaintiffs respectfully requests that the Court:

               A.    An award of compensatory and consequential damages,

   including treble damages, in an amount to be determined at trial;

               B.    An award of exemplary and punitive damages in an amount

   to be determined at trial;


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               C.    An award of attorneys’ fees and costs;

               D.    A jury trial on all issues so triable; and

               E.    Such other relief as is just and proper.




   Respectfully submitted,

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